Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 1 of 81 PageID #: 3423




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------X
   ANA FLORES, RENE FLORES, MARIA
   MAGDALENA HERNANDEZ, MAGALI
   ROMAN, MAKE THE ROAD NEW YORK,                               MEMORANDUM OF
   and NEW YORK COMMUNITIES FOR                                 DECISION & ORDER
   CHANGE,                                                      2:18-cv-3549 (ADS)(GRB)

                             Plaintiffs,

                    -against-

   TOWN OF ISLIP, ISLIP TOWN BOARD,
   SUFFOLK COUNTY BOARD OF
   ELECTIONS,

                              Defendants.
   ---------------------------------------------------------X



  SPATT, District Judge.


          This is an action brought under Section Two of the Voting Rights Act of 1965, 52 U.S.C.

  § 10301 et seq (“VRA”). The plaintiffs, Hispanic residents of the Town of Islip (the “Town” or

  “Islip”) as well as two community advocacy organizations, contest the at-large voting procedure

  used in the Town to elect the four councilpersons of the Town Board of the Town of Islip (the

  “Town Board”) (together with the Town, the “Islip Defendants”). The Plaintiffs complain that the

  at-large system dilutes the voting strength of the Hispanic minority, in violation of the VRA. They

  seek a preliminary injunction that enjoins the Islip Defendants and the Suffolk County Board of

  Elections (“BOE”) from holding elections for the Town Board under the current system and

  establishes a transition to single-member districts for all future elections. The BOE has not taken

  a position in this litigation but objects to the issuance of a preliminary injunction. In response to

                                                          1
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 2 of 81 PageID #: 3424




  this motion, the Court conducted an evidentiary hearing at which 16 witnesses testified over a

  period of 12 days. The hearing concluded with closing arguments on May 2, 2019 and the Court

  reserved its decision.

         In deciding the instant motion, the Court notes that “enjoining an election is an

  ‘extraordinary remedy’ involving far-reaching power, which is almost never exercised by federal

  courts prior to a determination on the merits[.]” Cano v. Davis, 191 F. Supp. 2d 1135, 1137 (C.D.

  Cal. 2001) (quoting Oden v. Brittain, 396 U.S. 1210, 1211, 90 S. Ct. 4, 24 L. Ed. 2d 32 (1969)).

                                      I. LEGAL STANDARDS

  A. Preliminary Injunction

         In general, a preliminary injunction may be granted when the party seeking the injunction

  shows that (1) absent injunctive relief, she will suffer irreparable injury and (2) either (a) a

  likelihood of success on the merits, or (b) that there are sufficiently serious questions going to the

  merits of the claims to make them a fair ground for litigation, and a balance of hardships tips

  decidedly in her favor. N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, Inc., 883 F.3d 32, 37

  (2d Cir. 2018); Wright v. Giuliani, 230 F.3d 543, 547 (2d Cir. 2000); Brenntag Int'l Chems., Inc.

  v. Bank of India, 175 F.3d 245, 249 (2d Cir. 1999). If, on the other hand, “the moving party seeks

  a preliminary injunction that will affect government action taken in the public interest pursuant to

  a statutory or regulatory scheme, the injunction will be granted only if the moving party meets the

  more rigorous likelihood-of-success standard.” No Spray Coal., Inc. v. City of New York, 252 F.3d

  148, 150 (2d Cir. 2001) (per curiam) (internal citations and quotation marks omitted).

         As here, when the movant seeks an injunction against the government that “will alter rather

  than maintain the status quo, the movant must show … [a] substantial likelihood of success.” Id.

  (internal citations and quotation marks omitted); Torres v. New York State Bd. of Elections, 462

                                                    2
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 3 of 81 PageID #: 3425




  F.3d 161, 183 (2d Cir. 2006) (“[w]here ... the relief that plaintiffs seek either (1) stays

  governmental action taken in the public interest pursuant to a statutory scheme, or (2) mandates

  an affirmative action, plaintiffs must demonstrate a ‘clear’ or ‘substantial’ likelihood of success

  on the merits of their claim”), rev'd on other grounds, 552 U.S. 196, 128 S. Ct. 791, 169 L. Ed. 2d

  665 (2008); see, e.g., Pankos Diner Corp. v. Nassau Cty. Leg., 321 F. Supp. 2d 520, 523 (E.D.N.Y.

  2003) (requiring a clear or substantial likelihood of success on the merits where the plaintiffs

  sought “to enjoin enforcement of and, ultimately, void a statute that was already in effect at the

  time that the Complaint was filed”).

          An injunction in this case will alter the status quo by not only enjoining the Town and the

  BOE from holding elections under the current at-large structure, but requiring a transition to single-

  member districts on a preliminary basis. As a result, the Plaintiffs are required to establish a

  substantial likelihood of success on the merits. See Queens Cty. Republican Comm. ex rel. Maltese

  v. New York State Bd. of Elections, 222 F. Supp. 2d 341, 345-46 (E.D.N.Y. 2002) (Spatt, J.). In

  addition, the Plaintiffs must also demonstrate that they will suffer irreparable harm in the absence

  of an injunction and that it is in the public interest “to grant injunctive relief [when] faced with an

  impending election.” Montano v. Suffolk Cty. Legislature, 268 F. Supp. 2d 243, 260 (E.D.N.Y.

  2003) (Spatt, J.).

  B. Voting Rights Act

          Section Two of the VRA, as amended, establishes the following:

          (a) No voting qualification or prerequisite to voting or standard, practice, or
          procedure shall be imposed or applied by any State or political subdivision in a
          manner which results in a denial or abridgement of the right of any citizen of the
          United States to vote on account of race or color, or in contravention of the
          guarantees set forth in section 10303(f)(2) of this title, as provided in subsection
          (b).


                                                    3
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 4 of 81 PageID #: 3426




         (b) A violation of subsection (a) is established if, based on the totality of
         circumstances, it is shown that the political processes leading to nomination or
         election in the State or political subdivision are not equally open to participation by
         members of a class of citizens protected by subsection (a) in that its members have
         less opportunity than other members of the electorate to participate in the political
         process and to elect representatives of their choice. The extent to which members
         of a protected class have been elected to office in the State or political subdivision
         is one circumstance which may be considered: Provided, That nothing in this
         section establishes a right to have members of a protected class elected in numbers
         equal to their proportion in the population.

  52 U.S.C.A. § 10301 (emphasis in original). A plaintiff is not required to prove discriminatory

  intent in order to prove a violation under Section Two. See Chisom v. Roemer, 501 U.S. 380, 394,

  111 S. Ct. 2354, 115 L. Ed. 2d 348 (1991).

         In Thornburg v. Gingles, 478 U.S. 30, 106 S. Ct. 2752, 92 L. Ed. 2d 25 (1986), the Supreme

  Court established a framework to establish a Section Two cause of action. First, a plaintiff is

  required to satisfy three “preconditions”: (1) the minority group must be sufficiently large and

  geographically compact to constitute a majority in a single-member district; (2) it must be

  politically cohesive; and (3) the white majority must vote sufficiently as a bloc to enable it, in the

  absence of special circumstances, to defeat the minority's preferred candidate. Id. at 50-51.

  Regarding the third prong, the Supreme Court instructed that “in general, a white bloc vote that

  normally will defeat the combined strength of minority support plus white ‘crossover’ votes rises

  to the level of legally significant white bloc voting.” N.A.A.C.P. v. City of Niagara Falls, 65 F.3d

  1002, 1007 (2d Cir. 1995) (quoting Gingles, 478 U.S. at 56).

         While the satisfaction of the Gingles preconditions is required to prove a Section Two

  violation, a court’s inquiry at that stage is far from complete. Next, a district court must consider

  whether, under the totality of the circumstances, “(1) the political processes for nomination and

  election (2) are not equally open to participation by members of the protected class (3) because the


                                                    4
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 5 of 81 PageID #: 3427




  class members have less opportunity than others to participate and elect their representatives of

  choice.” Goosby v. Town Bd. of Town of Hempstead, 180 F.3d 476, 491 (2d Cir. 1999). In other

  words, a court must determine whether the minority group’s political power is actually diluted.

  Johnson v. De Grandy, 512 U.S. 997, 1013, 114 S. Ct. 2647, 2658, 129 L. Ed. 2d 775 (1994). To

  do that, the Supreme Court identified nine factors, which are listed in the Senate Report

  accompanying the 1982 amendments to Section Two of the VRA, as relevant to such an inquiry.

  Those factors are as follows:

         (1) the extent of any history of official discrimination in the state or political
         subdivision that touched the right of the members of the minority group to register,
         to vote, or otherwise to participate in the democratic process;

         (2) the extent to which voting in the elections of the state or political subdivision is
         racially polarized;

         (3) the extent to which the state or political subdivision has used unusually large
         election districts, majority vote requirements, anti-single shot provisions, or other
         voting practices or procedures that may enhance the opportunity for discrimination
         against the minority group;

         (4) if there is a candidate slating process, whether the members of the minority
         group have been denied access to that process;

         (5) the extent to which members of the minority group in the state or political
         subdivision bear the effects of discrimination in such areas as education,
         employment and health, which hinder their ability to participate effectively in the
         political process;

         (6) whether political campaigns have been characterized by overt or subtle racial
         appeals;

         (7) the extent to which members of the minority group have been elected to public
         office in the jurisdiction;

         (8) whether there is a significant lack of responsiveness on the part of elected
         officials to the particularized needs of the members of the minority group; and

         (9) whether the policy underlying the state or political subdivision's use of such
         voting qualification, prerequisite to voting, or standard, practice or procedure is
         tenuous.

                                                    5
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 6 of 81 PageID #: 3428




  S. Rep. No. 97-417, at 28-29 (1982), reprinted in 1982 U.S.C.C.A.N. 177, 206-07. As noted in

  Gingles, “[t]he Report stresses, however, that this list of typical factors is neither comprehensive

  nor exclusive. Though the enumerated factors will often be pertinent to certain types of § 2

  violations, particularly to vote dilution claims, other factors may also be relevant and may be

  considered.” Gingles, 478 U.S. at 45 (citing S. Rep. at 29-30). In its inquiry, the Court must utilize

  “a ‘functional’ view of the political process.” Id.

                                      II. FINDINGS OF FACT

  A. The Parties

         The plaintiffs are Ana Flores (“Ana”), Rene Flores (“Rene”), Maria Magdalena Hernandez

  (“Hernandez”), Magali Roman (“Roman”), Make the Road New York (“MRNY”), and New York

  Communities for Change (“NYCC”) (together, the “Plaintiffs”). Ana, Rene, Hernandez and

  Roman are registered voters and Hispanic residents of Brentwood, a census designated place

  (“CDP”) in the Town. Ana is a member of NYCC and Hernandez is a member of MRNY. NYCC

  is an organization registered under 26 U.S.C. § 504(c)(4). Its mission is to use “direct action to

  defend and uplift its members’ communities and fight back against racist structures and economic

  policies that continue to extract wealth from its members’ communities and neighborhoods.”

  Docket Entry (“Dkt.”) 1, ¶ 20. MRNY is an organization registered under 26 U.S.C. § 501(c)(3).

  Its mission is to “build the power of Latino and working class communities to achieve dignity and

  justice through organizing, policy innovation, transformative education, and survival services.”

  Id. ¶ 19. A majority of the members of MRNY are undocumented immigrants. Although the term

  “Hispanic” focuses on individuals of Spanish-speaking origin and “Latino” refers to people of

  Latin American origin, the Court will use these terms interchangeably for the purposes of deciding

  this motion.

                                                    6
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 7 of 81 PageID #: 3429




          The defendants are Islip, the Town Board, and the BOE (together, the “Defendants”). Islip

  is a town in the County of Suffolk, which is organized and operated under the laws of the State of

  New York. Town Hall is located at 655 Main Street, Islip, New York 11751. The Town Board is

  the legislative body which governs the Town.        The BOE is the agency charged with the

  implementation of elections within the County of Suffolk.

  B. The Town of Islip

          Islip is the third most populous town in the State of New York.           It encompasses

  approximately 100 square miles of land and 59 square miles of water. Located in Suffolk County,

  the Town includes four incorporated villages and all or part of 23 CDPs. The four villages, Ocean

  Beach, Saltaire, Bright Waters, and Islandia all perform certain local government functions. The

  responsibilities of Suffolk County, the Town and the villages are distinct, and vary by location.

  According to the 2010 decennial census, the total population in the Town is 335,543. According

  to the 2017 one-year American Community Survey (“ACS”), Islip has a population of 333,701, of

  which 34.5% is Hispanic. The majority of Islip’s Latino community is located in Brentwood,

  Central Islip and North Bay Shore. The below table shows the racial/ethnic composition of the

  Town:

           Population Category               ACS 2005–2009                  ACS 2013–2017
      Citizens of Voting Age          218,645         100.00%        221,830        100.00%
      Non-Latino White                160,100         73.22%         146,975        66.26%
      Latino                          32,785          14.99%         45,340         20.44%
      Non-Latino Black                20,430          9.34%          22,795         10.28%
      Non-Latino Asian                4,350           1.99%          5,535          2.50%
      Non-Latino All Other            980             0.45%          1,185          0.53%

      Citizens                        303,515         100.00%        297,870        100.00%
      Non-Latino White                207,290         68.30%         185,120        62.15%
      Latino                          57,520          18.95%         72,665         24.39%
      Non-Latino Black                30,575          10.07%         30,380         10.20%

                                                  7
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 8 of 81 PageID #: 3430




       Non-Latino Asian                6,650           2.19%          7,880           2.65%
       Non-Latino All Other            1,480           0.49%          1,825           0.61%

       Citizens Under 18               84,870          100.00%        76040           100.00%
       Non-Latino White                47,190          55.60%         38,145          50.16%
       Latino                          24,735          29.14%         27,325          35.94%
       Non-Latino Black                10,145          11.95%         7,585           9.98%
       Non-Latino Asian                2,300           2.71%          2,345           3.08%
       Non-Latino All Other            500             0.59%          640             0.84%

       Total Population                336,755         100.00%        335,310         100.00%
       Non-Latino White                210,795         62.60%         187,230         55.84%
       Latino                          81,635          24.24%         103,245         30.79%
       Non-Latino Black                33,355          9.90%          33,020          9.85%
       Non-Latino Asian                9,490           2.82%          9,930           2.96%
       Non-Latino All Other            1,480           0.44%          1,885           0.56%


  Exhibit (“Ex.”) 108 at 22. There is substantial diversity within Islip’s Latino community.

  Approximately 33% are Salvadorian, 15% are Columbian, 15% are Ecuadorian, 15% are Peruvian,

  and 11% are Dominican.

         Islip is governed by a Supervisor, Town Clerk, Receiver of Taxes, and four

  Councilpersons. The Town Board is composed of the four councilpersons and the Supervisor. All

  are elected to four-year terms, and the elections for councilperson are staggered.             Two

  councilpersons are up for election every odd year. The Supervisor, Town Clerk, Receiver of Taxes

  and four Councilpersons are all elected by the voters in Islip in an arrangement commonly referred

  to as an at-large system. Each voter in Islip is able to vote for one person for each vacant seat on

  the Town Board as well as one candidate for Supervisor, Town Clerk, and Receiver of Taxes.

  Voters may choose to vote for one or two candidates for the Town Board or decline to vote for any

  of them. The Town Board candidates who receive the most and second most votes are elected.

  For the other three town-wide positions, the candidate who receives the most votes are elected. A


                                                   8
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 9 of 81 PageID #: 3431




  referendum to change the electoral system in the Town to single-member districts was rejected by

  the Town’s voters in 2006.

         The four councilpersons are part-time employees who earn $77,000 per year. The Town

  Supervisor is a full-time employee, the chief executive of the Town and a voting member of the

  Town Board. The current Supervisor is Angie M. Carpenter (“Carpenter”). None of the current

  members of the Town Board live in predominantly Hispanic neighborhoods.

         Carpenter supervises the following departments: Assessor, Comptroller, Environmental

  Control, Municipal Parking, Parks Recreation and Cultural Affairs, Planning and Development,

  Public Safety, Public Works, Receiver of Taxes, Senior Citizen Services, the Town Attorney, and

  the Town Clerk, among others. Thomas Owens is currently the commissioner of the Department

  of Public Works and the Department of Parks Recreation and Cultural Affairs. The Suffolk County

  Police Department (“SCPD”) patrols the Town and investigates criminal activity. The SCPD is

  operated by Suffolk County.

         Although the Republican, Democrat, Conservative, Independence, Women’s Equality and

  Working Families parties are all active in Islip elections, the Republican Party has largely

  dominated town-wide elections.       Currently, all town-wide elected positions are held by

  Republicans.

  C. The Gingles Preconditions

         1. Precondition One

         The Plaintiffs introduced Dr. Andrew Beveridge, an expert in the field of districting to

  determine if the Latino citizens of voting age population (“CVAP”) are sufficiently numerous and

  geographically compact to create one majority-Latino CVAP district in a four-district plan that is

  drawn in accordance with traditional districting principles. Dr. Beveridge is a Professor of

                                                  9
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 10 of 81 PageID #: 3432




  Sociology at Queens College and the Graduate Center of the City University of New York and has

  provided expert opinions and testimony regarding proposed districting plans in several cases.

         Dr. Beveridge used the decennial census, one-year ACS files, and five-year ACS files to

  draw his conclusions. The decennial census is the most accurate data, but it is only collected once

  every 10 years. The ACS survey uses a “rolling sample” method, collecting data continually

  through monthly surveys based on a random selection of households. Excluding the census, the

  one-year ACS files provide the most up to date information and the five-year ACS files provide

  the most accurate data. The most recent one-year ACS survey was conducted in 2017 and the

  most recent five-year ACS survey was conducted from 2013 through 2017. The total aggregate

  sample size for the five-year ACS file is similar to that of the long-form decennial census, which

  was discontinued in 2005.

         Dr. Beveridge drew two demonstrative districting plans to illustrate that the Latino CVAP

  is sufficiently numerous and geographically compact. In doing so, he reviewed the following

  traditional districting principles: population equality, contiguity, compactness, and preserving

  existing political and geographic subdivisions. Both plans were created using the 2013-2017 five-

  year ACS redistricting files.

         The first plan was based upon preserving census blocks (“Census Block Plan”). Census

  blocks are the smallest geographic units delineated by the Census Bureau. They are not based on

  population but serve as the building components to create larger geographic units. There are more

  than 11 million census blocks in the United States. Dr. Beveridge split Islip up into four districts,

  with District One consisting of 54.4% of the total CVAP of that district. District One was made

  up of Brentwood, North Bay Shore, and two portions of Central Islip. The total population

  deviation was 1.55%, significantly less than the maximum deviation for local districting plans.

                                                   10
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 11 of 81 PageID #: 3433




  Other than the island areas, all four districts were contiguous and considered compact. To measure

  compactness, Dr. Beveridge used the Roeck measure, which compares the area of each district to

  the area of a circumscribing circle. Using the Roeck test, District One scored 0.61, which is

  considered very compact.      Three CDPs, Central Islip, Ronkonkoma and Islip, were split to

  preserve population equality and some districts split election district boundaries. Below is a map

  that illustrates Dr. Beveridge’s Census Block Plan:




  Ex. 105 at 36.
                                                 11
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 12 of 81 PageID #: 3434




         The second plan was based upon preserving election districts (“ED Plan”). Once again,

  Dr. Beveridge split the Town into four districts. In District One, Hispanics constituted 54.4% of

  the total CVAP of the district. District One was composed of Brentwood, North Bay Shore, and

  two portions of Central Islip. The total population deviation was 1.01%, all four districts were

  contiguous and considered very compact. Using the Roeck test, District One scored 0.61, which

  is considered very compact. Central Islip, Ronkonkoma and Islip were also split to preserve

  population equality and some of the boundaries of election districts were breached to preserve

  census blocks. Below is a map that illustrates Dr. Beveridge’s ED Plan:




                                                 12
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 13 of 81 PageID #: 3435




  Ex. 105 at 39.

          While both plans split certain communities that one would expect to be preserved, i.e.

  Central Islip, these examples are limited and do not drastically impact compactness. Both plans

  are considered very compact; however, District Three, which includes the barrier islands, is

  naturally less compact than the remaining districts.

          Both of these plans demonstrate that it is possible to create a district that has a majority

  Hispanic CVAP in Islip based upon a four-district plan that complies with traditional districting

  principles.

          2. Precondition Two

          The Plaintiffs’ expert, Dr. Michael D. McDonald, is a Professor of Political Science and

  the Director of the Center on Democratic Performance at the State University of New York at

  Binghamton. He examined seven Town Board general elections from 2005 to 2017 using both

  bivariate regression analysis (“regression analysis”) and ecological inference. Regression analysis

  applies a regression to derive a best fitting line in order to determine if a correlation exists between

  the racial makeup of an election district and the racial breakdown of votes cast. Ecological

  inference is “the statistical process of drawing inferences about individuals from aggregate data.”

  Bruce M. Clarke & Robert Timothy Reagan, Fed. Judicial Ctr., Redistricting Litigation: An

  Overview of Legal, Statistical, and Case-Management Issues 53 (2002). In the context of a VRA

  case, it produces estimates of voting patterns by race by analyzing the bounds of the data to produce

  maximum likelihood statistics. In all seven elections, the candidates of choice for the Hispanic

  community were the two nominees of the Democratic Party. In three of those elections, one of the

  two Hispanic-preferred candidates were Latino. The point estimate measured by regression

  analysis for the Hispanic candidate of choice ranged from 52.7% to 77.7% of Hispanic voters, and

                                                    13
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 14 of 81 PageID #: 3436




  from 53.9% to 88.8% using ecological inference. The three Latino candidates for Town Board

  received between 58.3% and 77.7% of Hispanic voters using regression analysis and from 56.1%

  to 88.8% using ecological inference.

         The Islip Defendants’ expert in this area is Dr. John Alford, a Professor of Political Science

  at Rice University. In an effort to normalize the vote-for-two Town Board Elections so as to better

  compare it with vote-for-one elections, Dr. Alford converted Dr. McDonald’s ecological inference

  results from the number of votes to the number of voters. In this analysis, each Hispanic candidate

  of choice received between 35.5% and 52.8% of the votes, a combined average of 83.1% of the

  Latino vote for both candidates.

         With the exception of 2007, all Town Board elections examined by Dr. McDonald resulted

  in the Hispanic candidates of choice losing to the Republican slate of candidates. Further, the only

  election examined where the Latino candidate of choice received greater than 50.4% of white votes

  was 2007.

         The 2007 Town Board election results are properly considered a special circumstance. A

  special circumstance is defined as an extraordinary situation that impacts election results. In 2006,

  Peter McGowan, Islip’s supervisor at the time, pled guilty to three criminal charges relating to

  kickbacks and misappropriation of campaign funds and resigned from his position with the Town.

  See Julia C. Mead, Ex-Supervisor of Islip Gets 3 Months, a Light Term, N.Y. Times (May 5, 2006),

  https://www.nytimes.com/2006/05/05/nyregion/05suffolk.html. The Court accepts the Plaintiffs’

  contention that this astonishing turn of events at least partially impacted town-wide elections in

  2006 and 2007.

         Dr. McDonald also analyzed town-wide, county, state, and federal elections for political

  cohesiveness. In the nine town-wide elections examined, the Hispanic candidate of choice

                                                   14
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 15 of 81 PageID #: 3437




  received between 64.1% and 78.6% of the Latino vote using regression analysis and 68.5% and

  90.7% using ecological inference. A review of Suffolk County elections reveals that in the eight

  elections analyzed since 2005, the Hispanic candidate of choice received between 63.0% and

  91.0% of the Latino vote using regression analysis and between 67.4% and 94.6% using ecological

  inference. In the nine New York State elections examined since 2005, the Hispanic candidate of

  choice garnered between 73.4% and 86.5% of the Latino vote using regression analysis and 76.0%

  and 94.6% using ecological inference. Finally, Dr. McDonald analyzed eight federal elections

  since 2005 and found that Hispanic candidates of choice received between 83.3% and 95.5% of

  Latino votes using regression analysis and 91.0% and 96.1% of votes using ecological inference.

  The Court does not credit the results of elections for the Second Congressional District from either

  expert. These elections did not include approximately a dozen electoral districts within the Town.

  Without knowing more about which election districts were excluded, these results cannot be

  compared to results that include the entire town.

         3. Precondition Three

         The parties each presented expert testimony during the hearing regarding the voting

  patterns of Hispanics and whites in Islip. Dr. McDonald analyzed the same 14 Town Board

  elections as described in Section II.C.2. In 12 of the 14 elections, the Hispanic candidate of choice

  lost to the two candidates preferred by whites. In those 12 elections, between 51.2% and 65.6%

  of white voters did not vote for the Hispanic-preferred candidate using regression analysis and

  between 50.1% and 66.0% using ecological inference. Further, Dr. McDonald estimated that white

  crossover voting, that is the number of white voters who voted for the Hispanic candidate of choice,

  ranged from 23.8% to 35.9% using regression analysis and 25.0% to 36.5% using ecological

  inference. In the elections that featured Latino candidates for Town Board, white crossover voting

                                                   15
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 16 of 81 PageID #: 3438




  was between 23.8% and 29.8% using regression analysis and between 25.0% and 29.9% using

  ecological inference. The two remaining elections occurred during 2007, which, as explained in

  Section II.C.2., were the result of special circumstances.

         Dr. Alford also analyzed all 14 Town Board elections since 2005 using ecological

  inference. He determined that, after correcting for certain errors, the winning candidates in the 12

  elections that resulted in a victory for white candidates of choice received combined support from

  whites of between 61.0% and 64.8% of votes. White crossover voting for the two Hispanic

  candidates of choice in each election was measured between 35.2% and 39.0% of votes. The three

  Latino candidates since 2005 received 18.5%, 18.3% and 15.5% of white votes. The most recent

  Latino candidate, Samuel Gonzalez, received the second highest percentage of white votes of any

  Democratic Town Board candidate since 2012.

         Both Dr. McDonald and Dr. Alford evaluated nine town-wide elections since 2005. Since

  then, the Hispanic candidate of choice was unsuccessful in seven of the nine elections. For those

  seven races, Dr. McDonald calculated white crossover voting at between 22.7% and 41.0% of

  voters using regression analysis and 23.5% and 40.9% using ecological inference. Dr. Alford

  calculated that white crossover at between 27% and 45% of voters using ecological inference.

  The remaining elections, the 2006 and 2007 supervisor races, are considered special

  circumstances. Both experts found similar levels of racial polarization in the Town Board races

  they reviewed.

         A review of exogenous elections at the county, state, and federal levels yields more

  significant white crossover voting patterns than endogenous elections. Dr. McDonald estimates

  that since 2005, white crossover voting ranged from 27.0% to 55.9% using regression analysis and

  28.4% and 57.3% using ecological inference in county elections, 34.5% to 58.4% using regression

                                                  16
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 17 of 81 PageID #: 3439




  analysis and 35.1% to 58.8% using ecological inference in statewide elections, and 30.8% to 55.1%

  using regression analysis and 33.7% to 57.1% using ecological inference in federal elections.

  Using ecological inference, Dr. Alford contends that white crossover voting for the same elections

  was between 30% and 61% for county elections, 39% and 62% for statewide elections, and 36%

  and 59% for federal elections.

         Dr. McDonald also conducted a projection analysis that examined the election results for

  Suffolk County Legislature District Nine to determine what would happen in a Town Board

  election under a single-member district with a majority of Hispanic voters. From this analysis, Dr.

  McDonald concluded that the Hispanic candidates of choice would have been more successful in

  Town-wide elections if the relevant elections had been held in a majority-Latino district.

         Using the data described in this section, Dr. McDonald concluded that white bloc voting

  consistently precludes the Hispanic candidates of choice from being elected to the Town Board.

  Dr. Alford believes that the levels of white bloc voting observed are explained by partisan

  polarization rather than racial polarization.

         The Islip Defendants contend that Dr. McDonald’s results were impacted by three major

  errors: (1) Dr. McDonald analyzed the number of voters that submitted a ballot in Town Board

  elections; (2) Dr. McDonald did not account for varying degrees of voter turnout in his ecological

  inference analysis; and (3) Dr. McDonald analyzed white bloc voting rather than non-Hispanic

  bloc voting. The Court addresses these arguments in Section III.B.1.c.

  D. The Senate Report Factors

         1. History of Official Discrimination

         There has been no evidence of any official policy of discrimination against Hispanics in

  New York State or Islip. The Islip Defendants offered the testimony of Dr. Stephan Thernstrom,

                                                  17
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 18 of 81 PageID #: 3440




  the Winthrop Professor of History Emeritus at Harvard University to discuss the history of

  discrimination in New York State. Dr. Thernstrom explained:

         The starting point of any assessment of an alleged Voting Rights Act violation must
         be an examination of the history of the jurisdiction in which the complaint has been
         filed. If a state or any of its political subdivisions had demonstrably had such a
         history, it would be plausible to think that any current racial disparities (the focus
         of the fifth Senate Report factor) are at least in part attributable to that history. …
         New York has been a pioneer in combatting discrimination.

         …

         Not much has been written about the history of Islip, and what little I was able to
         locate offered nothing relevant to the issues in the present case. But there is an
         abundance of scholarly literature on the history of racial and ethnic groups in the
         state of New York, and on the long story of the state’s efforts to combat
         discrimination against such groups. Even a brief glance at this literature would have
         shown the plaintiffs that over the course of more than a century the people of New
         York have demonstrated a strong commitment to minority rights by supporting the
         development of a rich body legislation designed to prevent discrimination based on
         race, religion, or national origins.

         …

         Throughout the twentieth century, New York more often than not led the nation in
         enacting laws to attack discriminatory practices.

         …

         Most directly relevant to the issues in this case are the efforts of New York in recent
         decades to guarantee the voting rights of its minority citizens. Eligible voters no
         longer need to show up at the office of the local board of election. These voters may
         mail in forms obtainable by mail or phone request (registration by mail was
         authorized by the legislature in 1975). Voter registration also is available while
         applying for a driver’s license, or appearing at public assistance or disability
         services offices.

  Ex. A, ¶¶ 13-15, 19.

         In 2012, the New York State Department of Motor Vehicles (“DMV”) developed an online

  registration process that allowed voters to complete the voter registration process online. This

  used a signature drawn from the DMV’s existing records to complete the registration. During the


                                                   18
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 19 of 81 PageID #: 3441




  2012 general election, the BOE refused to accept certain voter registrations obtained using the

  DMV’s online system due to a software error that rendered signatures unreadable. It is unclear

  how many registered voters were impacted by the glitch. The 2012 general election is the only

  election impacted by the BOE’s refusal to accept DMV online registrants. Since then, the DMV

  has maintained a policy of accepting online registrations through the DMV and Nicholas LaLota,

  the BOE’s Republican Chairman has personally encouraged residents to register via the DMV’s

  website. There is no evidence that this issue disproportionately impacted communities of color in

  general or the Hispanic community in particular.

         Dr. Daniel Altschuler, the Director of Civic Engagement and Research at MRNY and an

  Adjunct Assistant Professor of Public Service at New York University testified on behalf of the

  Plaintiffs. During the 2012 election, he supervised a non-partisan election protection operation in

  collaboration with the New York Civil Liberties Union and Common Cause New York. Dr.

  Altschuler testified regarding a handful of isolated incidents in Islip during the 2012 general

  election. In one notable episode, a female Latino voter complained that a white male poll worker

  instructed her to vote for Mitt Romney, the Republican candidate for President of the United States.

  This incident purportedly occurred at 8:00am at a polling place in Brentwood. The BOE was

  notified and the police were dispatched to the polling place. The call log only identified the

  complainant as “Jessica H.” Dr. Altschuler also recalled at least one incident of a poll worker

  inappropriately requesting identification from a voter. There was nothing in the record to indicate

  that any registered voters were prevented from voting in recent elections in Islip. While the Court

  credits Dr. Altschuler’s testimony, the incidents he recalled lacked sufficient detail to conclude

  that that Hispanic voters experienced unfair or discriminatory treatment. His ambiguous testimony



                                                  19
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 20 of 81 PageID #: 3442




  of isolated incidents may demonstrate that certain poll workers need additional education, but it

  did not establish that they engaged in discriminatory behavior.

          The BOE has hired two Hispanic Outreach coordinators, who ensure proper translation of

  all materials into Spanish. Spanish BOE materials and ballots are available to all Hispanic voters.

  The BOE also hired Spanish-speaking poll workers who can answer any questions at polling

  locations. The website of the BOE is also able to be translated into Spanish. The BOE trains

  approximately 6,000 poll inspectors and utilizes 10% of its employees to staff a call center on

  election day. SCPD is responsible for responding to any incidents that arise throughout Election

  Day.

          2. Degree of Racially Polarized Voting

          The Court has already reviewed much of the factual record associated with racially

  polarized voting and incorporates Sections II.C.2. and II.C.3. into the findings of fact on this Senate

  factor. The Islip Defendants contend that partisan affiliation rather than race better explains voting

  patterns in Islip.

          The Plaintiffs’ expert, Dr. McDonald, only examined two non-partisan elections: the 2013

  and 2015 Democratic primary elections for Suffolk County Legislative District 9.               As Dr.

  McDonald acknowledged in his expert report, these elections were not racially polarized.

  Hispanics and whites each supported the winning candidate in both contests. These elections are

  particularly noteworthy even though they do not represent all of Islip because they are the only

  two elections where ethnicity is eliminated as a variable. Moreover, these elections take place in

  a majority Latino district and are illustrative of a majority minority single-member district. See

  Ex.118, ¶¶ 55-62. Dr. McDonald did not examine the influence of partisan politics in Town Board

  elections.

                                                    20
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 21 of 81 PageID #: 3443




           Dr. Alford reviewed the elections-at-issue in this case for evidence of partisan voting. In

  all 51 elections examined by Dr. McDonald, the Hispanic candidates of choice ran as Democrats

  in the general election. These candidates received substantial support from white voters. In Town

  Board elections, the Hispanic candidates of choice averaged over 37% of white votes, even after

  removing the 2007 election. These numbers increased to over 40% when examining town-wide

  and exogenous elections. Dr. Alford calculated that an average of 42.1% of white voters supported

  Hispanic-preferred candidates in town-wide races.          That number became 45.8% for county

  elections, 46.6% for state elections, and 49.75% for federal elections. In 12 of 34 town-wide and

  exogenous elections (35.3%), the Hispanic candidate of choice received at least 50% of white

  votes.

           In the only analysis that reviews the impact of both race and political affiliation, Dr. Alford

  examines the 2017 Town Board election using Dr. Beveridge’s individual voter records. Here,

  Trish Bergin Weichbrodt and James O’Connor, both white Republicans, ran against Samuel

  Gonzalez and Jason Fenley. Gonzalez is Latino and Fenley is white. First, Dr. Alford replicated

  Dr. McDonald’s regression analysis estimates for the election and found similar results. He then

  added a variable for the proportion of the voters in each election district that were registered as

  Democrats. That equation reveals that when holding all other variables constant, an increase of

  10% in the proportion of registered Democrats yields an expected increase in the vote for Gonzalez

  of 9.94%. If the same equation is used to illustrate an increase of 10% of the Hispanic CVAP

  proportion and all other variables are held constant, the change yields a slight decrease in the vote

  for Gonzalez of 0.57%. This regression reveals that in only five of the over 40 election districts

  where Gonzalez received more than 60% of the votes, the election district also had greater than

  60% Hispanic CVAP. The proportion of Hispanic CVAP in an election district had no predictive

                                                     21
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 22 of 81 PageID #: 3444




  power when controlling for all other variables, while the percentage of registered Democrats did

  have predictive power.

         3. Electoral Mechanisms that Enhance Vote Dilution

         There are no anti-single shot provisions or majority vote requirements in Islip Town Board

  elections. Elections for the Town Board occur on the primary and general election dates in odd

  years. In each Town Board election, two of the four council seats are open. The two candidates

  with the most votes are elected. Voters may vote for two, one or none of the candidates.

         The Plaintiffs contend that Islip is an unusually large election district. To support this

  argument, they introduced the testimony of Renee Ortiz, who ran for the Town Board in 2011 and

  Gonzalez, who is now the current Suffolk County Legislator for the Ninth District. The Ninth

  District comprises a large portion of Islip’s Latino community, including Central Islip and parts of

  Brentwood. As stated supra, Gonzalez ran for the Town Board in 2017. Both individuals testified

  that the size of Islip posed a challenge during their Town Board campaigns. Specifically, they

  believed that they did not receive enough funds to run a town-wide campaign. Yet, Gonzalez did

  not exclusively campaign in the predominantly Hispanic portions of Islip. He canvassed and

  attended events throughout the Town, including events in Sayville and Bay Shore. The fruits of

  these efforts are demonstrated in the election results. Gonzalez received more votes than any other

  Latino candidate for Town Board and collected more votes than the four winners of the last two

  Town Board elections.

         The Plaintiffs have not introduced any evidence that the Town is unusually large compared

  to other districts in New York State. Carpenter testified that the size of Islip did not pose any

  particular challenges to her campaign. An examination of Suffolk County reveals that Islip is

  smaller than many districts in county or state races. In the Suffolk County Legislature, there are

                                                  22
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 23 of 81 PageID #: 3445




  multiple districts that are considerably larger than Islip. The Second Legislative District is

  comprised of the entire South Fork of Long Island and encompasses approximately 250 square

  miles of land. The First Legislative District is even larger, stretching the over 70 miles from

  Brookhaven to Fisher’s Island. Further, there are numerous large towns on Long Island that feature

  at-large election systems.

         4. Access to Candidate Slating Process

         The Republican Party is the dominant political party in Islip’s town-wide elections. All

  current Islip elected positions are filled by Republicans and since 2009, no Democrat has been

  elected to the Town Board.

         The Islip Republican Committee has an open screening process that allows any interested

  person to apply to run for elected office. All candidates that apply are screened for all available

  positions. An open interview is then conducted, which allows any registered Republican to attend

  and ask questions of the candidate. During that process, the candidates may make opening and

  closing statements and attendees have the opportunity to rate each candidate. An executive

  committee of approximately 18 committee members selects the candidates who receive the party’s

  nomination. If candidates who are not nominated still wish to run, the party holds a primary

  election to determine the nominee. In 2017, 17 candidates were screened for the two available

  Town Board positions and approximately 80 voters attended the screening event. Since 2005, the

  Islip Republican Committee has not slated a Hispanic candidate. Neither party has produced

  information regarding party nominations prior to 2005. There is no evidence that anyone from the

  Islip Latino community ever sought the Republican Party’s nomination for the Town Board or that

  there are any structural impediments that preclude a Hispanic Republican from seeking or



                                                  23
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 24 of 81 PageID #: 3446




  obtaining the nomination. The Suffolk County Republican Committee is composed of the 10 town

  committees, including Islip. The current chairman is Jesse Garcia.

         Since 2005, the Islip Democratic Committee has nominated three Hispanics for the Town

  Board: Gonzalez in 2017, Ortiz in 2011 and Kellie Alvarez in 2005. This represents approximately

  21% of all nominations for the Town Board during that timeframe, which is substantially similar

  to Islip’s Hispanic CVAP. There is no evidence regarding how many Latino residents sought the

  Democratic Party’s nomination for Islip Town Board or how many Latino candidates were slated

  prior to 2005. In 2015, Maxima Castro was nominated by the Democratic Party for the position

  of Town Receiver of Taxes.

         Neither party in this case has introduced evidence of the nominating process for exogenous

  elections outside Islip nor how many Hispanic residents sought their political party’s nomination

  for the various local, state, and federal elected positions. The record does reflect, however, that in

  2012, Gonzalez and Philip Ramos competed in the Democratic Party primary for the nomination

  for New York State Assembly District 6. Further, in 2013 Monica Martinez and Ricardo Montano

  both sought the Democratic Party’s nomination for Suffolk County Legislative District Nine and

  in 2015, Montano ran against Tom Licari for the Democratic Party’s nomination for Islip Town

  Supervisor.

         5. Discrimination in Other Areas Which Hinders Hispanics’ Ability to Participate in
         Political Process

         The Plaintiffs offered the expert testimony of Dr. John Logan regarding the socioeconomic

  status of Hispanics in Islip. Dr. Logan is a Professor of Sociology at Brown University and has

  provided expert reports in a series of housing related cases. In his expert report and testimony, he




                                                   24
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 25 of 81 PageID #: 3447




  focused on socioeconomic characteristics, public health, public education, policing and

  environmental hazards.

         There are significant differences between Hispanics and whites in Islip. The median

  household income of Hispanics is $75,543 as compared to $93,766 for whites. However, Latinos

  have a slightly lower unemployment rate than whites in Islip. 84.9% of whites are employed in

  professional or managerial roles compared to 62.1% of Hispanics. There are two times as many

  white residents than Latinos in Islip with some college experience. Whites are also 20% more

  likely to be homeowners than Hispanics in Islip.

         Yet, the Latino community also exhibits telltale signs of an immigrant community on the

  rise. More than 53.5% of Latino citizens were naturalized compared to 2.9% of white citizens. In

  other words, over 97% of white citizens were born in the United States as opposed to 46.5% of

  Latino citizens. More than 40% of whites have lived at their residence for over 20 years compared

  to 15.5% of Hispanics in Islip. Greater than 30% of Latinos have lived at their current residence

  for less than five years. The Hispanic community’s English language adoption also falls far behind

  their white counterparts. 98.3% of whites in Islip either speak only English or speak English very

  well. Only 57.5% of Hispanics can say the same. That leaves 42.5% of Latinos with a significant

  gap in language ability, which is a limiting factor for upward mobility. Dr. Logan obtained the

  above information from the 2012-2016 five-year ACS survey. He acknowledged during his

  testimony that Hispanic citizens in the Town likely exhibit higher socioeconomic characteristics

  than non-citizens.

         Dr. Thernstrom contends that examining Islip in a nationwide context reveals that Islip’s

  Latino community is a successful immigrant community on the rise. Using the 2017 ACS one-

  year survey, the median household issue of Hispanics rose to $86,572 as compared to 98,400 for

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Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 26 of 81 PageID #: 3448




  whites and $92,955 for all of Islip. The nationwide median household income was $60,336 for all

  households and $49,793 for Hispanic households.           When examining poverty levels, Dr.

  Thernstrom found that 10.5% of Hispanics in Islip were below the poverty level compared to 4.9%

  of whites and 7.3% of the entire town. Nationwide, 19.4% of Hispanics, 9.6% of whites, and

  13.4% of all Americans were below the poverty level.

         In an effort to explain these numbers, Dr. Thernstrom notes the following:

         The continuing flow of Latino newcomers into Islip, both from abroad and from
         other parts of the United States, inevitably means that the group will lag behind the
         local average in its socioeconomic characteristics, because migration streams tend
         to be selective of the young, the less educated, those who are not qualified for
         professional or managerial jobs, and the like.

         …

         As a historian of American immigration, I am not in the least surprised to see such
         a pattern in any community that has recently experienced a large influx of
         newcomers from abroad. Exactly the same generalizations apply to the Irish of New
         York, Philadelphia, and Boston in the 1840s and 1850s, and the Italians, Poles, and
         East European Jews who settled in New York, Philadelphia, and Pittsburgh in the
         late-nineteenth century. It also appeared in the northern communities—Detroit,
         Cleveland, and Chicago—that were the destinations of southern blacks in their
         original Great Migration northward (1915–1929) and their Second Great Migration
         to northern cities that began at outbreak of World War II and petered out in the
         1970s. In each case, the migration stream was selective of the socioeconomically
         disadvantaged.

  Ex. A, ¶¶ 28-29.

         Turning to educational achievement and public health, Dr. Logan opines that there are

  significant disparities in health and education outcomes. The proportion of Latinos with no health

  insurance is four times higher than whites. Latinos are also more likely to be covered by Medicaid

  than whites. Approximately 44.7% of Latinos either have no health insurance or are insured

  through Medicaid. Yet, as Dr. Logan acknowledges, “[individuals] who speak a primary language

  other than English and have limited English proficiency were more likely to be uninsured.” Ex.

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Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 27 of 81 PageID #: 3449




  115, ¶ 33 (internal citations omitted). Dr. Logan also examined birth and mortality figures and

  concludes that Latinos in New York State are more likely than whites to experience issues related

  to insufficient prenatal care and primary care. Although the Court credits this testimony, these

  statewide statistics have limited persuasive value in this application. The Economic Opportunity

  Council of Suffolk’s Community Needs Assessment, cited in Dr. Logan’s report, describes

  significant differences between Suffolk County and New York State health-related statistics.

          Dr. Logan uses data from the New York State Education Department to examine public

  education disparities. He cites statistics from six school districts in Islip: Brentwood, Central Islip,

  Bay Shore, Islip, East Islip, and West Islip. The data shows that Brentwood and Central Islip,

  which are predominantly Latino districts, score lower on average in Mathematics and English than

  East Islip and West Islip, which are largely white districts. Brentwood and Central Islip also have

  the highest English as a second language students of the six districts examined. All six of these

  schools have independent boards that are run by elected members of the community. The Town

  has no control over school taxes and does not make policy-based decisions.

          There are several potential problems with Dr. Logan’s data. In his expert report, Dr. Logan

  only examines six school districts in the Town, even though there are 12 school districts that enroll

  students in Islip. Dr. Logan also failed to provide evidence on per person spending, the quality or

  quantity of teachers, the conditions of the schools, the sizes of classrooms, or anything else that

  contributes to overall performance. The comparative information regarding the six schools he

  chose for analysis is therefore less compelling.

          Dr. Logan next turns to disparate treatment in Islip regarding policing and public safety.

  Ten of his 21 citations in this section are to a 2009 report by the Southern Poverty Law Center

  (“SPLC”) entitled Climate of Fear: Latino Immigrants in Suffolk County. While the Court is well

                                                     27
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 28 of 81 PageID #: 3450




  aware of the excellent work done by the SPLC in advancing civil rights in this country, it also

  recognizes that at its core, SPLC is an advocacy organization. The Court does not credit any

  portion of the report or testimony that is sourced from the SPLC report.

         Dr. Logan also cites a series of reports from the U.S. Department of Justice (“DOJ”) to

  conclude that the SCPD has not established enough trust within the Latino community, which leads

  to public safety issues. In January 2014, the DOJ entered into a settlement agreement with the

  SCPD “to ensure that police services are provided to all members of the Suffolk County

  community, including the Latino community, in a manner that complies with the Constitution and

  laws of the United States.” Ex. 310 at 2. The DOJ investigation, which commenced in 2009 and

  culminated with the signing of the agreement, focused on allegations that the SCPD discouraged

  Latinos from filing complaints and failed to investigate criminal incidents involving Latinos. Over

  the last five years, the DOJ has issued seven reports assessing compliance with the agreement. By

  October 11, 2018, the DOJ certified that the SCPD was in substantial compliance in three

  categories (Hate Crimes and Hate Incidents, Allegations of Police Misconduct, and Policies and

  Training Generally) and in partial compliance in three categories (Bias-Free Policing, Language

  Assistance, and Community Engagement). The DOJ also stated that in those categories rated in

  partial compliance, the SCPD had made significant progress. Except as detailed above, the Court

  credits Dr. Logan’s testimony regarding policing and public safety, but also notes the noteworthy

  progress over the years in improving the relationship between the SCPD and Suffolk County’s

  Hispanic community.

         In the final section of his expert report, Dr. Logan concludes that Islip’s Latino community

  has been disproportionately subjected to significant environmental hazards. In this effort, he

  examines 14 hazardous waste sites in Islip, which he obtained from the New York State

                                                  28
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 29 of 81 PageID #: 3451




  Department of Environmental Conservation. Only six of the 14 sites are located in census tracts

  that have greater than 10% Latinos. Two of the six are dry cleaners. Of the remaining four, one

  is located in a mostly non-residential, industrial area. Many of these sites were constructed and

  operated decades ago, long before the census tracts became predominantly Hispanic. Two of the

  sites that are in a majority-Hispanic census tract, MacKenzie Chemical Company and Sonia Road

  Landfill were in operation by 1948 and 1965 respectively. Based on this data, the Court does not

  credit Dr. Logan’s conclusion that a disproportionately large share of hazardous waste sites are

  located in predominantly Hispanic areas.

            Dr. Logan also examines the dumping at Roberto Clemente Park and its impact on the

  Brentwood community. In early 2014, it became public that a firm contracted by the Town to

  create two soccer fields at Roberto Clemente Park had dumped 40,000 tons of toxic debris from

  other construction sites in the construction area. The park remained closed until August 2017.

  Neighbors of the park were rightly concerned with the long-term health impacts of the dumping.

  Yet, this tragic incident does not imply a broader pattern of neglect, or that Brentwood has been

  disproportionately subjected to environmental hazards.

            6. Racial Appeals in Political Campaigns

            Over the past 20 years, the Hispanic community has continued to expand in Brentwood,

  Central Islip, and North Bay Shore (along with other neighborhoods in Nassau and Suffolk

  County). This has caused some well-documented racial tensions in communities across Long

  Island.

            The Plaintiffs have introduced evidence regarding five instances that they contend are

  examples of overt or subtle racial appeals in local political campaigns. During O’Connor’s 2017

  campaign for Town Board, the New York State Republican State Committee paid for a town-wide

                                                  29
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 30 of 81 PageID #: 3452




  mailer for O’Connor. Garbarino, the Chairman of the Islip Republican Committee, was shown the

  mailer but did not have substantive comments. On the front of the mailer, it read “WHY JIM

  O’CONNOR? BECAUSE HE’S ONE OF US!” and on the back read “Jim O’Connor is one of us

  who is experienced in both business and government. … I hope to earn your trust and vote because

  I will fight for you to preserve our quality of life in Islip.” Ex. 10 (emphasis in original). Gonzalez

  believes that “us” refers to white residents of Islip rather than the Town as a whole. He found this

  mailer to be discriminatory. Carpenter did not find it discriminatory and contends that O’Connor

  is referring to all residents of Islip. There is no evidence that O’Connor’s mailer was only sent to

  the predominantly white parts of the Town.

         One of the current members of the Town Board, Bergin Weichbrodt, came under fire in

  2009 for purportedly writing a post on her Facebook page that references El Salvador. This

  Facebook post was not admitted into evidence as it was not properly authenticated. It is not

  manifestly clear whether or not Bergin Weichbrodt authored this post. However, this post was

  authored after the 2017 Town Board elections and, therefore, was not connected to any election.

         During the 2017 Town Board elections, Bergin Weichbrodt attended a “meet the

  candidates” campaign event in Sayville, along with the other three candidates. At some point in

  the night, when Gonzalez had left the room, she remarked the following about Gonzalez, “He lives

  in Central Islip. He’s not from here. He doesn’t understand what our concerns are in this part of

  the Town.” Ex. 11. The video admitted into evidence does not provide any context for the

  comment and does not show any footage of before or after the quote. Gonzalez testified that he

  found the comments “very discriminatory.” While Gonzalez’s opinion is understandable, the

  Court does not credit this portion of his testimony. Gonzalez was not in the room at the time and

  was unable to provide any context for the remark. None of the other witnesses were present in the

                                                    30
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 31 of 81 PageID #: 3453




  room for the remark and could comment on its context. Without more, the Court could only

  speculate as to the meaning of Bergin Weichbrodt’s comments.

         The Plaintiffs also point to a campaign mailer for Steve Flotterton’s 2017 campaign for

  Suffolk County Legislature. On one side of the mailer, it lists three elements of his campaign

  platform: (1) “Federal Task Force actions to fight MS-13 and other Gangs throughout Suffolk

  County”; (2) “[t]ougher sentences for drug dealers to combat the Heroin epidemic and protect our

  families”; and (3) “[t]ighter control of our borders to stop the flow of Heroin and Gang members

  (MS-13) into our neighborhoods.” Ex. 12. The other side features a picture of a Hispanic male

  with the letters “MS” tattooed on his forehead, and a picture of drug paraphernalia. Under the

  pictures, it states, “Under the Democrats Control, Suffolk County has been a ‘Sanctuary County’

  and suffered the most MS-13 Gang Killings and highest Opioid Death Rate in New York State!”

  Id. This mailer was sent to residents of the 11th Legislative District, which includes all of West

  Islip, Brightwaters, most of Bay Shore and portions of Islip, Islip Terrace, and Deer Park.

         Gonzalez testified that although each side of the mailer is not offensive when viewed in

  isolation, when read together it can be read to infer that all Hispanics are murderers, gang members

  or drug addicts. Ana testified that she was offended by the picture of the Hispanic male depicted

  in the flyer. She explained, “I fear … that other people who are not … familiar with my community

  would … see this picture, as well as see my father, who is brown, and then put those two together

  and think that my father is a gang member by just the color of his skin.” Transcript of Evidentiary

  Hearing (“Tr.”) at 1519:12-20.

         Carpenter also testified regarding this mailer. When asked on cross examination if she

  thought this mailer was “a good invitation to Latino people to join the Republican Party?”,

  Carpenter replied, “I think if they’re concerned about gangs, and this person is saying they’re going

                                                   31
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 32 of 81 PageID #: 3454




  to fight gangs, they probably would be happy to see that.” Tr. at 2241:5-13. She also mentioned

  that the image of drug paraphernalia was offensive to her but did not indicate that her offense was

  connected to any purported portrayal of the Hispanic community. The Court credits the testimony

  of these three witnesses.

          7. Minorities Elected to Public Office

          Since 2005, Hispanics have not been elected to the Town Board. In that period, only three

  Latino candidates have attempted to do so and all three ran as Democrats. In 2005, Alvarez

  received 12,680 out of 41,459 votes. In 2011, Ortiz received 20,617 of 51,247 votes. Most

  recently, in 2017, Gonzalez received 23,302 of 62,893 votes, the highest number for any Hispanic

  candidate. It is unknown if a Latino candidate has ever been elected to the Town Board prior to

  2005.

          Hispanics have been appointed or elected to other local and state government positions

  with Islip constituents. Suffolk County’s Legislative District Nine encompasses Central Islip, the

  eastern portion of Brentwood and a section of the Village of Islandia. It consists of 44 election

  districts and approximately 32,000 registered voters.      The district was created in 2004 by

  Resolution 402-2003. Gonzalez is the current legislator. He was recently elected in 2018. From

  2014 to 2018, the position was held by Martinez and Montano was the district’s legislator from

  2004 to 2013. All three are Hispanic.

          New York Senate District Three encompasses portions of Brentwood, Bellport, Blue Point

  and Bayport. The district is currently represented by Monica R. Martinez, who was elected in

  2018. New York State Assembly District Six is currently represented by Ramos, who was elected

  in 2012. Ramos’s district encompasses Brentwood, Central Islip, and parts of North Bay Shore,

  Bay Shore and the Village of Islandia. Martinez and Ramos are both Hispanic.

                                                   32
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 33 of 81 PageID #: 3455




          8. Responsiveness by Elected Officials to Minority Needs

          The Plaintiffs contention that the Town Board has been unresponsive to the needs of the

  Latino community is based on three general categories of evidence: (1) the dumping at Roberto

  Clemente Park; (2) inequities in municipal services; and (3) inadequate translation services.

          Officials discovered in early 2014 that a firm contracted by the Town to create two soccer

  fields at Roberto Clemente Park had dumped 40,000 tons of toxic debris in the park. This resulted

  in a 32-count indictment against six individuals involved in the dumping, including Joseph

  Montuori, the Parks Commissioner at the time, and Brett Robinson, his secretary. Both were fired

  by the Town and ultimately pled guilty to criminal charges. The park was shut down on May 5,

  2014.

          In the aftermath of the dumping, the Town took a series of steps to alleviate the problem

  and communicate with the Brentwood community. Within 24 hours of learning of the dumping,

  Islip retained an environmental consultant. Later that week, the two Town employees who were

  criminally charged were removed from their positions with the Town. On May 13, 2014, the Town

  issued its third written update, which was available in both English and Spanish. The first two

  updates, if they exist, are not part of this Court’s record. Among other things, the update informed

  the community of the results from air samples, and detailed methods of future communication.

  Additional updates were issued in both English and Spanish. To further communicate with

  residents, the Town mailed thousands of letters to residents in Brentwood; established a toll-free,

  24-hour, bilingual hotline; held an information session attended by over 100 residents at the

  Brentwood Recreation Center; relocated a Spanish speaking employee to the Brentwood

  Recreation Center to field concerns; and distributed handouts to residents’ homes. These actions

  were enough to keep the Brentwood community informed as to continued progress. See Ex. 67 at

                                                  33
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 34 of 81 PageID #: 3456




  2 (explaining the recommended methods of informing the community). Though the park was

  supposed to reopen in 2015, it did not ultimately reopen until August 2017. The evidence does

  not demonstrate that this delay was the result of the Islip Defendants.

         The Plaintiffs argue that the Town’s overall response was deficient. Specifically, they

  contend that “Town officials did not promptly communicate to residents that the dumping had

  occurred or that the toxic waste posed health risks. … When the Town did attempt to communicate

  information, it was months after the park had closed and not all of the communication was

  translated.” Dkt. 130 at 21-22. Yet, the documentary evidence in the record refutes much of this

  claim. See Exs. O (May 13, 2014 Spanish translated update); P (June 13, 2014 Spanish translated

  update); R (bilingual flyer for May 20, 2014 meeting); T (website section in Spanish). Most of

  the evidence put forth by the Plaintiffs on this matter was in the form of opinions.

         The Plaintiffs’ contend that municipal services such as snow removal, road repair, and

  similar services are performed inequitably. To support this argument, numerous witnesses testified

  that these services were conducted in a faster and more diligent manner in predominantly white

  areas than the predominantly Latino areas of the Town. This testimony was generally vague and

  bereft of specifics. See, e.g., Tr. 343-44. In the few instances where particular streets or areas

  were mentioned, most of these did not fall within the Town’s jurisdiction. See, e.g., Tr. 344-45;

  2302. Accordingly, the Court does not credit this testimony.

         There is no distinction in how the Town handles complaints in different areas within Islip.

  Generally, there are two ways the Department of Public Works (“DPW”) is made aware of road

  maintenance issues: it is either discovered by one of the area foremen who are encouraged to

  canvas their territory in search of projects, or citizen complaints. The DPW also employs a paving

  inspector who looks for roads in disrepair. Islip is only responsible for those roads that are Town

                                                  34
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 35 of 81 PageID #: 3457




  roads, not county, state, or undedicated roads. The Town prioritizes issues that are in front of

  schools, hospitals, bus stops, fire houses, and other significant locations. The DPW strives to fill

  all potholes within 24 hours. In 2018, the DPW filled approximately 2,000 potholes. Last year,

  the Town spent around $4 million to pave Washington Avenue, one of the major roadways in

  Brentwood. For snow removal, the DPW contracts with approximately 350 vendors who conduct

  the overwhelming majority of snow removal operations. There are three DPW yards: Sayville,

  Bay Shore, and Central Islip. Each of these yards is assigned roughly one third of the vendors.

  The Town uses GPS technology to track their movements in real time. A 2018 report authored by

  the Town revealed that of 1,938 potholes filled that year, the DPW filled 396 in Bay Shore, 376 in

  Brentwood, 170 in Ronkonkoma, 145 in Central Islip and 118 in West Islip. This report does not

  reveal that potholes were prioritized based on CDPs.

         The Islip Defendants have introduced substantial evidence of the Town’s investment of

  significant resources within the Hispanic community. In August 2018, the Town completed an

  extensive renovation on the pool at Roberto Clemente Park. Owens testified that although the

  project took longer than anticipated, residents now enjoy a brand-new pool. With the pool open,

  the focus shifted to installing a water spray facility at Roberto Clemente Park. This complex is

  presently under construction. Since Owens became commissioner, the Parks Department has also

  renovated many of the Town’s “pocket parks.” One notable example is Noble Street Park. The

  Town received a series of complaints from the SCPD and the community that there was drug

  activity in the park. To combat this, the Town installed a new walking path, raised the tree line,

  added a large floodlight, and installed a new playground and basketball court.               These

  improvements were designed to discourage drug activity in the park and promote a more

  constructive use of the space.

                                                  35
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 36 of 81 PageID #: 3458




         Carpenter also testified extensively about the financial resources devoted to improving

  predominantly Latino areas of the Town. Recently, Islip applied for and received an approximately

  $10 million grant from the Regional Economic Development Council to revitalize the Central Islip

  downtown area. Islip also was awarded a $15 million grant by New York State to renovate the

  Brentwood Recreation Center as well as funding to address vacant housing.

         Finally, the Plaintiffs contend that the Town’s efforts to communicate in Spanish are

  insufficient to meet the needs of the Hispanic community. Translation services at Town Board

  meetings are provided by Lissette Barrios-Reyes, who is employed by the Constituent Services

  group in the Office of the Town Supervisor. She also provides translation and interpretation

  services for other departments and answers telephone complaints. Barrios-Reyes testified that she

  is not formally trained in interpretation services and is unable to provide simultaneous translation.

  Although the record does not show that this has resulted in any Spanish-speaking residents being

  unable to participate in Town Board meetings for want of translation services, the evidence reflects

  that translation services at these meetings can be improved. There are also Spanish speaking

  employees in other departments, including the Town Clerk, Registrar, and Environmental Control.

  There is no record of Spanish-speaking employees working for the DPW or the Parks Department.

         While the Town has not ignored the need for access to translation services, there is room

  for improvement. With such a large Latino community, it is imperative that residents have quick

  and competent access to translation and interpretation services. Barrios-Reyes is a competent and

  dedicated public servant whose devotion to serving the Hispanic community is commendable.

  However, to adequately serve the needs of approximately one third of residents, more is needed.

         9. Tenuousness of the Policy Underlying At-large Elections



                                                   36
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 37 of 81 PageID #: 3459




         The at-large system is currently the dominant electoral system employed by American

  cities and towns and used to select their governing body. Throughout the twentieth century,

  progressive electoral reformers considered at-large elections to combat the pervasive corruption in

  many urban political machines. The Plaintiffs have failed to note any academic studies that support

  their claim that at-large elections foster corruption.

         In 2006, the Town held a referendum on whether to keep the at-large system in place for

  the Town Board. The referendum asked Islip voters, “[s]hall the local law adopted by the Islip

  Town Board on March 07, 2006, entitled ‘a local law providing for the establishment of a ward

  system for the election of councilpersons in the Town of Islip’ be approved?” Residents voted to

  keep the current system by a margin of 53.98% to 46.02%. Approximately 45% of Hispanics and

  55% of whites voted to keep it.

         Carpenter, the current Town Supervisor, explained her thoughts on the advantages of at-

  large election systems as follows:

         [T]he representation of all of the residents of the town, as far as I'm concerned and
         as far as I've seen and with our departments and with the sharing of resources and
         everything that's done, it's done equitably across the town.

         …

         When I was in the legislature, I routinely would get phone calls from the
         neighboring district saying, I know she's not my legislator, but I understand that
         she's willing to help. Could she help me with, whatever the issue was. And that's,
         you know, a difficult road to travel because legislators are very parochial. You
         know, when there are events and a legislator shows up that isn't from that district,
         you can see the stares, like why are they here. They're so protective of their own
         district. And, again, I really believe that all of the residents of the town are so much
         better served if they're there as one body unified working together for all of the
         residents.

  Tr. 1834:16-1835:3.



                                                    37
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 38 of 81 PageID #: 3460




          In August 2018, Anthony Pancella, the Vice Chairman of the Suffolk County Republican

  Committee and the Chairman of the Babylon Town Republican Committee, emailed Carpenter to

  ask for her support to add a referendum on the November ballot that would create single-member

  districts for the Babylon Town Council. Carpenter replied, “[y]ou know I am always there for you

  and the Babylon GOP, but this puts me in a very difficult position. This is a very sensitive issue

  and we are smack in the middle of a very expensive lawsuit[.]” Ex. 36. In context, it is clear that

  Carpenter is referring to the instant case in her email. Carpenter does not take a position as to the

  Babylon referendum. She expresses general support for Pancella and the Babylon Republican

  Committee, but chooses not to take a public position, given the current lawsuit. The Plaintiffs

  would have this Court conclude that Carpenter only withheld her support because of the lawsuit,

  not because of any personal beliefs on the issue. The Court is not willing to jump to that

  conclusion. The Court credits Carpenter’s testimony on her justification for the at-large system.

          Numerous other witnesses testified as to the benefits and drawbacks of both the at-large

  system and the single-member district system. Although the Court credits this testimony, it does

  not advance the argument that the policy underlying the at-large system is tenuous. The reasons

  provided by the witnesses are helpful if the Court were asked to render a decision on which system

  is best; but, the Court is only required to decide if the current system has tenuous policy

  justifications. Both systems have numerous benefits and disadvantages, but those witnesses that

  testified as to the weaknesses of the at-large system fall short of alleging that the policy justification

  rests on unsteady ground.

          The Town of Islip Community Development Agency (“CDA”) is a public benefit

  corporation that assists low- and moderate-income residents by implementing housing and

  community development programs for the Town. It is funded by a series of federal grants and is

                                                     38
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 39 of 81 PageID #: 3461




  largely independent from the Town. The Town Board appoints all members of the CDA Board of

  Directors. There are five members of the Board of Directors, which chooses the Executive

  Director. From 2011 to 2018, Ortiz was a member of the Board of Directors. In 2018, there were

  three Hispanic board members: Ortiz, Ramon Colon and Manuel Troche. Steve Raccuglia and

  Debra Cavanagh also served on the Board of Directors. By 2018, the terms of Ortiz, Colon, and

  Raccuglia had expired. At that time, the Board of Directors was searching for a new Executive

  Director and had engaged in a national search. They had narrowed their search to several

  candidates but had yet to conduct interviews.

         In May 2018, the Town Board voted to remove the three board members with expired

  terms. The two Hispanic and one white members were replaced with three white members, leaving

  Troche as the only Hispanic left on the Board of Directors. The vote to remove the holdover board

  members was contentious and only passed by a three to two margin. Carpenter voted against the

  measure. Soon after, the Board of Directors voted to confirm a well-connected Republican to the

  position.

  E. The Relief Requested

         The Plaintiffs’ motion for a preliminary injunction, filed on March 1, 2019, sought an

  injunction “preliminar[ily] enjoining Defendants Town of Islip, Islip Town Board, and Suffolk

  County Board of Elections from conducting any election for the Islip Town Board under the

  current at-large system.” Dkt. 35; see also Dkt. 50 at 1 (“Plaintiffs seek to enjoin the Town of

  Islip … and the Suffolk County Board of Elections … from holding any elections for the Islip

  Town Board … under the current at-large system because that system violates Section 2 of the

  [VRA].” (citing 52 U.S.C. § 10301)). The primary election is scheduled for June 25, 2019 and the



                                                  39
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 40 of 81 PageID #: 3462




  general election will occur on November 5, 2019. Both parties’ briefing papers reflected this

  request. Prior to the hearing, the parties conducted significant discovery.

          On the first day of the hearing, the Plaintiffs represented that rather than seeking to “cancel

  the 2019 elections,” they “want the 2019 elections to proceed, but with councilmatic districts.” Tr.

  at 26:2-7. This prompted the Court to issue a short order requesting clarification regarding the

  Plaintiffs’ requested relief. See Dkt. 116. The Plaintiffs responded that they “ask[] the Court (1)

  to enjoin elections for the Islip Town Board under the current at-large structure because it violates

  Section 2 of the [VRA] and (2) to exercise its broad discretion to order a preliminary remedy before

  another unlawful election proceeds.” Dkt. 117 at 1.

          The Defendants vigorously objected to the requested relief, arguing that the Plaintiffs

  altered their requested relief after the motion was filed and the hearing had already begun. The

  Court agrees that the Plaintiffs had modified their request for relief by the start of the hearing. The

  Plaintiffs’ briefing papers to this Court on that point are self-evident. After reviewing both parties’

  submissions on this matter, see Dkt. 123; 128, the Court will permit the Plaintiffs to amend their

  request for relief. Contrary to their contention, the Defendants have had enough time to be heard

  on the altered relief. They submitted a 10-page, single-spaced letter on the topic, questioned

  witnesses on it, and incorporated it into their closing argument. The Plaintiffs are advised that the

  Court will not permit their proposed remedy to continue to evolve and urge them to be more careful

  in their representations to this Court in the future.

                             III. THE PRELIMINARY INJUNCTION

          For the reasons set forth below, the Court concludes that the Plaintiffs have not shown that

  they are substantially likely to succeed on the merits and that an injunction is in the public’s

  interest.

                                                    40
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 41 of 81 PageID #: 3463




  A. Irreparable Harm

         The Plaintiffs seek to enjoin all future elections under the current at-large system and

  institute single-member districts for all future elections prior to this case’s ultimate disposition.

  They contend that the continuation of the present system irreparably harms the Hispanic population

  in Islip.   Irreparable harm is “injury for which a monetary award cannot be adequate

  compensation.” Diaz v. Silver, 932 F. Supp. 462, 466 (E.D.N.Y. 1996) (citing Studebaker Corp.

  v. Gittlin, 360 F.2d 692, 698 (2d Cir. 1966)); Brennan Ctr. for Justice v. U.S. Dep't of Justice, No.

  17-CV-6335 (KBF), 2018 WL 637424, at *2 (S.D.N.Y. Jan. 31, 2018) (“Irreparable harm is injury

  that is neither remote nor speculative, but actual and imminent and that cannot be remedied by an

  award of monetary damages.” (internal citations and quotation marks omitted)).

         As this Court ruled in Montano, “[a]n abridgement or dilution of the right to vote

  constitutes irreparable harm.” 268 F. Supp. 2d at 260-61 (citing Elrod v. Burns, 427 U.S. 347,

  373, 96 S. Ct. 2673, 2690, 49 L. Ed. 2d 547 (1976); Reynolds v. Sims, 377 U.S. 533, 562, 84 S. Ct.

  1362, 1381, 12 L. Ed. 2d 506 (1964); Puerto Rican Legal Def. & Educ. Fund v. City of New York,

  769 F. Supp. 74, 79 (E.D.N.Y. 1991)); Arbor Hill Concerned Citizens Neighborhood Ass'n. v. Cty.

  of Albany, No. 03-CV-502, 2003 WL 21524820, at *3 (N.D.N.Y. July 7, 2003) (same), report and

  recommendation adopted sub nom., Arbor Hill Concerned Citizens Neighborhood Ass'n v. Cty. of

  Albany, 281 F. Supp. 2d 436 (N.D.N.Y. 2003). This includes the continued deprivation of the

  right to effective participation in the political process. Puerto Rican Legal Def. & Educ. Fund,

  769 F. Supp. at 79.

         Here, the Court finds that there would be irreparable harm if the upcoming elections were

  permitted to proceed under a framework that violated the VRA.

  B. Substantial Likelihood of Success on the Merits

                                                   41
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 42 of 81 PageID #: 3464




         1. Gingles Preconditions

                 a. Precondition One

         The first precondition requires the Plaintiffs to demonstrate that the minority group at issue,

  in this case the Hispanic community in Islip, is sufficiently large and geographically compact to

  constitute a majority in a hypothetical single-member district. Gingles, 478 U.S. at 50. To do so,

  the Plaintiffs must show that “a remedy could be fashioned which would enhance the ability of the

  minority group to elect its preferred candidates. Montano, 268 F. Supp. 2d at 260-61. If they fail

  to do so, “the … form of government cannot be responsible for its inability to elect its candidates

  of choice, and in any event a court could not fashion a remedy for a demonstrated dilution of its

  voting strength. In short, unless minority voters are sufficiently numerous and compact that they

  have the potential to elect representatives in a single-member system, they cannot claim that their

  voting rights have been infringed by [an at-large] system.” Goosby v. Town Bd. of the Town of

  Hempstead, 956 F. Supp. 326, 328 (E.D.N.Y. 1997) (citing Gingles, 478 U.S. at 50), aff’d, 180

  F.3d 476 (2d Cir. 1999).

         In the instant case, the Plaintiffs have demonstrated that Latinos in the Town of Islip would

  constitute a majority of the CVAP in one of four hypothetical single-member districts. Under Dr.

  Beveridge’s ED Plan, Hispanics constitute 54.4% of the total CVAP in District One, which is

  primarily composed of Brentwood and North Bay Shore. In Dr. Beveridge’s Census Block Plan,

  Hispanics also makeup 54.4% of the total CVAP in District One. Like the ED Plan, District One

  in the Census Block Plan is primarily composed of Brentwood and North Bay Shore. Under either

  plan, the Plaintiffs have demonstrated that under a single-district plan, it is possible for Latino

  voters in one of the four districts to elect their preferred candidate. Goosby, 956 F. Supp. at 348



                                                   42
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 43 of 81 PageID #: 3465




  (holding proposed district by Dr. Beveridge of VAP of 52.57% black as sufficient to satisfy first

  precondition).

          Dr. Beveridge’s plans also sufficiently establish that the Hispanic population complies with

  major traditional districting principles. First, the plans are sufficiently compact geographically.

  Under the Roeck measure, both plans score 0.61, which is considered very compact. The district

  that includes Fire Island is somewhat less compact; yet, this is understandable given the geographic

  makeup of Islip. Both plans are also contiguous, with the exception of the district that includes

  Fire Island, and have maximum population deviations of 1.55% and 1.01% respectively. This is

  well below the typical 10% threshold.           While both plans split political and geographic

  subdivisions, there is no evidence that any common interests within these areas would be

  unfavorably impacted. See Goosby, 956 F. Supp. at 349 (finding that a district that splits one

  village and two CDPs is sufficiently compact).

          The Islip Defendants appear to abandon any potential effort to contest Dr. Beveridge’s

  findings related to the first Gingles precondition. Regardless, “the proposed districts are not ‘cast

  in stone.’” Goosby, 956 F. Supp. at 349 (quoting Clark v. Calhoun Cty., 21 F.3d 92, 95 (5th Cir.

  1994)). Their purpose is to validate the viability of a single-member, majority-minority district

  that complies with traditional districting principles. If the Plaintiffs ultimately prevail in a trial on

  the merits, the Town will have the opportunity to develop their own remedial plan and can seek to

  rectify any potential issues it may have at that time.

          Accordingly, the Plaintiffs have adequately demonstrated by a substantial likelihood of

  success that a majority-minority district can be constructed without violating traditional districting

  principles. The Latino population of Islip is sufficiently large and geographically compact to

  constitute a majority in a single-member district.

                                                     43
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 44 of 81 PageID #: 3466




                 b. Precondition Two

           The second precondition requires the Plaintiffs to show that the minority group at-issue

  is political cohesive. Montano, 268 F. Supp. 2d at 264 (citing Gingles, 478 U.S. at 51). To

  demonstrate political cohesion, a plaintiff typically establishes that a significant percentage of the

  group usually votes for the same candidates. “Unlike the first [Gingles] prong, which has an

  established bright-line test of 50%+, there is no cutoff for political cohesion. [T]he degree of bloc

  voting which constitutes the threshold of legal significance will vary from district to district.”

  Pope v. Cty. of Albany, 94 F. Supp. 3d 302, 333 (N.D.N.Y. 2015) (internal citations and quotation

  marks omitted). To demonstrate this, a plaintiff may use statistical and non-statistical evidence.

  Id. (citing Gingles, 478 U.S. at 52-58; Goosby, 180 F.3d at 482, 498; Brewer v. Ham, 876 F.2d

  448, 454 (5th Cir. 1989); Sanchez v. Bond, 875 F.2d 1488, 1493-94 (10th Cir. 1989)).

         Using both regression analysis and ecological inference, Dr. McDonald analyzed seven

  Town Board general elections, which took place from 2005 to 2017. Both regression analysis and

  ecological inference are acceptable methodologies in VRA cases. United States v. Vill. of Port

  Chester, No. 06 CIV. 15173 (SCR), 2008 WL 190502, at *25 (S.D.N.Y. Jan. 17, 2008) (finding

  that regression analysis and ecological inference “have been accepted by numerous courts in voting

  rights cases”). In all seven elections, the Hispanic candidate of choice received the support of

  greater than 50% of Latino voters who submitted ballots. Dr. McDonald testified that in all Town

  Board general elections, Hispanics in the Town vote in a politically cohesive manner. The Court

  believes this is sufficient to establish political cohesion. Goosby, 956 F. Supp. 326, 350: (holding

  black voters are politically cohesive in support for Democratic candidates when in all but one

  Town Board election, a majority of blacks voted for a democratic candidate); accord Pope, 94 F.



                                                   44
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 45 of 81 PageID #: 3467




  Supp. at 334 (“Black voters need not vote cohesively in every election in order for the Court to

  find that they are cohesive.”).

         Dr. McDonald also analyzed a series of town-wide and exogenous elections, which are

  probative for determining political cohesion. See Goosby, 180 F.3d at 497. These included Suffolk

  County general elections, New York State general elections, and federal elections and concluded

  that in all analyzed elections, Islip Hispanics voted in a politically cohesive manner. The Islip

  Defendants did not contest these results in their briefing papers. Dr. Alford, the Town’s expert,

  conceded that the Plaintiffs had succeeded in establishing political cohesion. See Tr. 1651:1-10.

         The Plaintiffs also introduced anecdotal evidence to reveal political cohesion among the

  Hispanic community. Multiple witnesses for the Plaintiffs testified that the Latino community was

  unified in support of Hispanic candidates. Further, there is evidence that Hispanic candidates are

  chosen to secure the Latino vote for the Democratic Party’s slate of candidates.

         Accordingly, the Plaintiffs have adequately demonstrated by a substantial likelihood of

  success that the Hispanic community in Islip is politically cohesive.

                 c. Precondition Three

         The third precondition requires the Plaintiffs to show that white bloc voting generally

  defeats the minority-preferred candidate. See Gingles, 478 U.S. at 51.

         In assessing which elections should be afforded the greatest probative value, we
         were guided by two Second Circuit pronouncements on this question. First, it is
         clear that, in this Circuit, at least, district courts must consider “white versus white”
         elections as part of a Section 2 analysis. In addition, “exogenous elections-those
         not involving the particular office at issue-are less probative than elections
         involving the specific office that is the subject of the litigation.”

  Vill. of Port Chester, 2008 WL 190502, at *25 (citing Goosby, 180 F.3d at 497: City of Niagara

  Falls, 65 F.3d at 1015-17). The primary focus in this inquiry is the presence of white bloc voting


                                                    45
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 46 of 81 PageID #: 3468




  with respect to the elections implicated in the Plaintiffs’ claims. Montano, 268 F. Supp. 2d at 264

  (citing City of Niagara Falls, 65 F.3d at 1015 n. 16; France v. Pataki, 71 F. Supp. 2d 317, 327

  (S.D.N.Y. 1999)).

         The Plaintiffs must present evidence that the white majority votes sufficiently as a bloc to

  enable it usually to defeat the minority-preferred candidate. Goosby, 956 F. Supp. at 250; Gingles,

  478 U.S. at 50-51. “[I]n general, a white bloc vote that normally will defeat the combined strength

  of minority support plus white ‘crossover’ votes rises to the level of legally significant white bloc

  voting.” Gingles, 478 U.S. at 56; Arbor Hill, 281 F. Supp. 2d at 436 (“[P]laintiffs are not required

  to show that minority candidates always lose to white candidates, only that they usually do” (citing

  Gingles, 478 U.S. at 75) (emphasis in original)).

         This determination is largely a fact-driven inquiry. As a result, courts have deviated from

  a bright-line rule. See Pope, 94 F. Supp. 3d at 335 (collecting cases). The Second Circuit has

  emphasized the need for flexibility in this inquiry. Id. (citing Pope v. Cty. of Albany, 687 F.3d

  565, 578 (2d Cir. 2012)). “[D]epending on the features of a particular electoral system, such as

  the presence or absence of other dilutive practices (e.g., majority vote requirements or prohibitions

  on single-shot voting), the size of the jurisdiction, the number of seats open, and the number of

  candidates in the field, the degree of white bloc voting that will generally preclude the [minority]

  voters from electing their preferred candidate will vary from case to case.” Goosby, 956 F. Supp.

  at 350 (citing Gingles, 478 U.S. at 56).

         For purposes of analyzing the third prong of Gingles, in § 2 cases in which the
         plaintiffs seek to replace an at-large, multimember electoral system with a series of
         single-member districts of which one or more would be a so-called majority-
         minority district, a candidate cannot be “minority-preferred” if that candidate
         receives support from fewer than 50% of minority voters. When a candidate
         receives support from 50% or more of minority voters in a general election, a court
         need not treat the candidate as minority-preferred when another candidate receiving

                                                   46
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 47 of 81 PageID #: 3469




         greater support in the primary failed to reach the general election. Finally, even if
         a candidate receives 50% or more of the minority vote, a court need not treat the
         candidate as minority-preferred if another candidate receives significantly higher
         support. … This rule means that, in any given election in a multimember scheme—
         where more than one contestant is elected to office in one election—a court may
         treat more than one candidate as the “minority's preferred candidate,” or none at all.

  City of Niagara Falls, 65 F.3d at 1019.

         Dr. McDonald analyzed 14 Town Board elections and nine Town-wide positions since

  2005. With the exception of 2007, the Hispanic-preferred candidates lost every Town Board

  election. In all 12 of those unsuccessful elections, Islip’s white majority voted against the

  Hispanic-preferred candidate, with support ranging from 50.1% to 66.0% of voters. Dr. Alford

  contends that, after correcting for certain errors, the two winning candidates for each election

  received combined support of between 61% and 65% of white votes. White crossover voting is

  between 25% and 37% of voters according to Dr. McDonald’s method and between 35% and 39%

  of votes using Dr. Alford’s method. In the three elections with Latino candidates, 2017, 2011, and

  2005, white crossover voting for the Hispanic challenger was approximately 23.8% to 30.3% of

  voters or roughly 15% of votes, depending on the statistical technique used. The 2007 Town Board

  election, which resulted in a victory for the Hispanic-preferred candidate, showed white support

  for the winning candidates at between 43.1% and 50.4% of voters according to Dr. McDonald and

  between 24.5% and 28.6% of votes according to Dr. Alford. Using either expert’s measure, there

  is sufficient white bloc voting to usually defeat the minority-preferred candidate for Town Board.

  While whites in the Town may not be voting as cohesively as in other VRA cases, the particular

  percentage of bloc voting is significantly less important than whether the white bloc regularly

  defeats the minority-preferred candidate. See United States v. Vill. of Port Chester, 704 F. Supp.

  2d 411, 442 (S.D.N.Y. 2010). In Town Board elections, only two of the 14 elections resulted in


                                                  47
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 48 of 81 PageID #: 3470




  victories for the Hispanic-preferred candidate. Without a significant number of victories by

  Hispanic candidates of choice, which would indicate that whites are not voting in sufficient

  numbers to usually defeat the minority-preferred candidate, white bloc voting is legally significant

  and white crossover voting is not legally significant.

         In the nine town-wide elections analyzed in this matter, seven of those races saw a loss for

  Hispanic-preferred candidates. The other two elections, the 2006 and 2007 Town Supervisor

  races, resulted in white crossover voting of between 43.6% and 65.6% of votes according to Dr.

  McDonald and 50% and 68% of votes according to Dr. Alford. These elections, like the 2007

  Town Board Elections, are special circumstances as they occurred immediately after Supervisor

  McGowan resigned, embroiled in corruption charges. For the seven cases where the Hispanic

  candidate of choice was unsuccessful, white crossover voting ranged from 27% to 45% according

  to Dr. Alford and between 23% to 45% using Dr. McDonald’s methodology. This level of white

  crossover voting was not sufficient to yield any significant victories for the minority-preferred

  candidate in Town-wide elections.

         Finally, both experts examined a series of exogenous elections outside of Islip, including

  county, state, and federal races. These elections “are less probative than elections involving the

  specific office that is the subject of the litigation.” Goosby, 180 F.3d at 497. All elections outside

  of the Town Board race, are therefore less probative than those for the Town Board. Although

  county, state, and federal elections indicate substantial white crossover voting that resulted in

  regular victories for Hispanic-preferred candidates, given the overwhelming evidence in

  endogenous elections, these exogenous results are insufficient to sway the results in an analysis of

  the third Gingles precondition.



                                                   48
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 49 of 81 PageID #: 3471




         The Islip Defendants contend that Dr. McDonald’s analysis contains three errors that

  impacted his results. Even if these criticisms are correctly noted errors, they are insufficient to

  change the conclusion for precondition three. Yet, the Court believes they are worth addressing

  for the remainder of the analysis. Dr. Alford’s first criticism is that in Town Board elections, Dr.

  McDonald analyzed the number of voters that submitted a ballot rather than the number of votes

  cast. This understates the white crossover votes because it divides the number of votes by the

  number of voters as opposed to the number of votes. Dr. McDonald’s method also precludes an

  apples-to-apples analysis as all vote-for-one elections are analyzed using the number of votes.

  However, this analysis is not an error in the traditional sense: there is nothing inherently wrong

  about calculating vote-for-two elections in this manner. Yet, as Dr. Alford points out, this

  precludes a comparative analysis using multiple types of elections. Although the Court declines

  to award less weight to Dr. McDonald’s approach, Dr. Alford’s method has increased utility and

  will be used in any comparative analysis.

         Next, Dr. Alford argues that Dr. McDonald does not account for varying degrees of voter

  turnout in his ecological inference analysis. Although Dr. McDonald did implicitly account for

  certain turnout differences, he did not adjust the racial and ethnic composition of precincts based

  on turnout. Yet, this error had limited impact on his results. Dr. Alford notes that this increases

  white crossover voting by less than 3% in vote-for-one elections and less than 4% in vote-for-two

  elections. As Dr. Alford professes, taking this error into account yields in very similar results.

         Finally, Dr. Alford insists that Dr. McDonald’s analysis of white bloc voting is improper.

  Rather, he maintains that the Court should review bloc voting in terms of the majority, not just

  whites. This would presumably include Asians, Pacific Islanders, Blacks, and other non-Hispanic

  groups. The Islip Defendants argue that by choosing to analyze only white voters, the Plaintiffs

                                                   49
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 50 of 81 PageID #: 3472




  are cherry-picking their results. This contention has no legal basis. As the Plaintiffs correctly

  note, the Second Circuit requires that district courts analyze white bloc voting, not majority bloc

  voting. See Gingles, 478 U.S. at 51; Goosby, 180 F.3d at 492 (“every minority-preferred candidate

  for the Town Board lost to the majority-preferred candidate as a result of white voters voting for

  candidates not supported by black voters.”); City of Niagara Falls, 65 F.3d at 1017-18 (examining

  white crossover voting). The only case the Islip Defendants cite, League of United Latin American

  Citizens v. Perry, 548 U.S. 399, 126 S. Ct. 2594, 165 L. Ed. 2d 609 (2006) was addressing the first

  Gingles precondition when it examined the number of “Anglos and Latinos” who voted in the

  general election. The question answered in Perry of whether Blacks could elect their candidate of

  choice in the primary to satisfy the first precondition is separate and distinct from the question

  presented here, whether there is legally significant white crossover voting in analyzing the third

  precondition. Perry is inapposite.

         Dr. Alford maintains that at least 80% of the white majority in Islip must vote against the

  Hispanic-preferred candidate for the white bloc vote to be sufficient. See Tr. 1594:12-17. This

  theory has no foundation in the applicable caselaw. In this Circuit, “the critical point is whether

  white voters are voting for other candidates to such a degree that Hispanic-preferred candidates

  are consistently defeated.” Vill. of Port Chester, 2008 WL 190502, at *26. This was established

  by the Supreme Court in Gingles and has been expanded to the fact-specific analysis presently

  conducted by district courts. See Gingles, 478 U.S. at 56, 59. The Islip Defendants cite three cases

  to argue that white crossover voting of 20% to 38% is sufficient to negate a Section Two claim.

         In Bartlett v. Strickland, 556 U.S. 1, 129 S. Ct. 1231, 173 L. Ed. 2d 173 (2009), Justice

  Kennedy, in a plurality opinion, expressed skepticism that the third precondition could be satisfied

  “where minority voters … cannot elect their candidate of choice without support from almost 20

                                                  50
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 51 of 81 PageID #: 3473




  percent of white voters.” Id. at 16. This comment is made in dicta and did not receive the support

  of a majority of justices.

          In Abrams v. Johnson, 521 U.S. 74, 117 S. Ct. 1925, 138 L. Ed. 2d 285 (1997), the Supreme

  Court did hold that the third precondition was not met. There, “the average percentage of whites

  voting for black candidates across Georgia ranged from 22% to 38%.” Id. at 92. However, in

  Abrams, “[b]lack and black-preferred candidates in Georgia ha[d] achieved many electoral

  victories in local and statewide elections and ha[d] received significant—occasionally

  overwhelming—support from both black and white voters within the [applicable] district.” Id.

  (internal citation omitted). In Islip, Hispanic candidates have rarely achieved any electoral victory,

  with Suffolk County Legislative District Nine being an exception rather than the rule. Moreover,

  Hispanic-preferred candidates have only achieved victories in Islip in elections with special

  circumstances. The Second Circuit’s focus on a factual-based inquiry precludes this Court from

  adopting a bright-line rule. After analyzing the facts in Abrams, the Supreme Court’s finding that

  the trial court’s assessment of precondition three was not clearly erroneous, is inapplicable to the

  facts at-bar.

          Finally, the Town cites Rodriguez v. Bexar County, 385 F.3d 853 (5th Cir. 2004), which

  noted that the conclusion of the plaintiff’s expert was “undercut … [by] his admission at trial that

  roughly between 25 and 33 percent of [white] voters would cross over to support the Hispanic

  candidate of choice.” Id. at 868 n.22. However, the Rodriguez court acknowledges that the district

  court “ignore[d] the consistent electoral victories of Hispanic candidates.” Id. at 860. Thus, in

  Rodriguez, the relatively low crossover rate of between 25% and 33% was sufficient for minority

  candidates of choice to consistently win elections.



                                                   51
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 52 of 81 PageID #: 3474




         Here, despite higher white crossover rates, Hispanic candidates of choice consistently lose

  in Islip elections. Regardless of the percentage of white bloc voting, the third precondition is

  satisfied when whites are voting in numbers sufficient to usually defeat the minority-preferred

  candidate. Goosby, 956 F. Supp. at 250.

         Accordingly, the Plaintiffs have demonstrated substantial likelihood of success that the

  third Gingles precondition is satisfied.

         2. The Totality of the Circumstances

         Although meeting the Gingles preconditions are necessary to prove a Section Two VRA

  claim, this alone is insufficient. De Grandy, 512 U.S. at 1013. The Court must conduct a broader

  inquiry to determine if, based on the totality of the circumstances, the Plaintiffs can demonstrate

  “that the political process is not equally open to participation.” City of Niagara Falls, 65 F.3d at

  1019; accord Montano, 268 F. Supp. 2d at 264 (noting that “the plaintiffs must show that ‘its

  members have less opportunity than other members of the electorate to participate in the political

  process and to elect representatives of their choice.” (quoting 52 U.S.C. § 10301)). To do so,

  district courts examine the nine Senate Report factors, as detailed in Gingles. 478 U.S. at 45.

  Although the factors are considered by many to be comprehensive, the Supreme Court found that

  the list is neither exhaustive nor comprehensive. There is “no specified number of factors [that]

  need to be proved, and … it is not necessary for a majority of the factors to favor one position or

  another.” Goosby, 180 F.3d at 492 (citing Gingles, 478 U.S. at 45).

         The “totality of the circumstances” test prescribed by the statute must also be
         applied to the evidence, since “the ultimate conclusions about equality or inequality
         of opportunity were intended by Congress to be judgments resting on
         comprehensive, not limited, canvassing of relevant facts.” Id. at 1011. The Supreme
         Court has made it clear that resolution of the question of vote dilution is a fact
         intensive enterprise to be undertaken by the district court.


                                                  52
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 53 of 81 PageID #: 3475




  Id. (citing De Grandy, 512 U.S. at 1011).

                 a. The History of Official Discrimination

         The first factor is “the extent of any history of official discrimination in the state or political

  subdivision that touched the right of the members of the minority group to register, to vote, or

  otherwise to participate in the democratic process.” S. Rep. at 28. General allegations of racial

  discrimination are insufficient. See Reed v. Town of Babylon, 914 F. Supp. 843, 885 (E.D.N.Y.

  1996). To satisfy their burden, the Plaintiffs must show that the Town has historically restricted

  access of Hispanics to the political process. Id.

         The Plaintiffs put forth lay testimony of numerous plaintiffs as well as third party

  witnesses. Dr. Stephan Thernstrom, the Winthrop Professor of History Emeritus at Harvard

  University testified on behalf of the Islip Defendants.

         Dr. Thernstrom explained:

         [O]ver the course of more than a century the people of New York have
         demonstrated a strong commitment to minority rights by supporting the
         development of a rich body legislation designed to prevent discrimination based on
         race, religion, or national origins.

         …

         Throughout the twentieth century, New York more often than not led the nation in
         enacting laws to attack discriminatory practices.

         …

         Most directly relevant to the issues in this case are the efforts of New York in recent
         decades to guarantee the voting rights of its minority citizens. Eligible voters no
         longer need to show up at the office of the local board of election. These voters may
         mail in forms obtainable by mail or phone request (registration by mail was
         authorized by the legislature in 1975). Voter registration also is available while
         applying for a driver’s license, or appearing at public assistance or disability
         services offices.




                                                      53
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 54 of 81 PageID #: 3476




  Ex. A, ¶¶ 13-15. He further discussed New York State’s efforts to guarantee the voting rights of

  minorities. Eligible voters are now able to register to vote in a myriad of ways in an effort to

  decrease potential barriers and spur increased turnout of various minority groups.

         As Judge Joanna Seybert noted in Reed v. Town of Babylon, “[t]he Court cannot infer that

  [Islip’s] history is unlike that of New York State generally.” 914 F. Supp. at 886. The Plaintiffs

  have not produced evidence that registration and voting procedures are different for Hispanics than

  the rest of the Town, or that Latinos in Islip have been unable to register to vote, vote in elections,

  run for office or otherwise participate in local politics. One notable exception is an isolated

  incident in 2012 with validating the signature of voters who registered online through the DMV.

  Yet, this issue applied to all those who registered using that method, and there was no evidence

  introduced that it impacted Hispanic voters more than others. The Court finds that this issue did

  not have a discriminatory impact on Islip’s Hispanic community.

         Although the Plaintiffs introduced anecdotal evidence that there were isolated incidents of

  voter intimidation or improper requests for photo identification, this testimony was primarily based

  on hearsay or double-hearsay. For example, in 2012, Dr. Altschuler testified that he recalled

  multiple examples of inappropriate requests for voter identification and voter intimidation while

  he was answering calls at an Election Day telephone hotline. He could not recall the names of the

  complainants or anything but the most basic details of the purported incidents. Such evidence is

  insufficient, even at this stage, to conclude that this type of discrimination ever occurred in the

  Town. Even if it did, the Plaintiffs failed to demonstrate that these isolated events frequently

  occurred or adversely impacted the Hispanic community.

         None of these witnesses testified that a single Latino voter in Islip was prevented from

  voting. Hispanic voters in the Town have access to Spanish BOE materials, a Spanish ballot, poll

                                                    54
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 55 of 81 PageID #: 3477




  workers who speak Spanish, and the BOE website translated into Spanish. The BOE hires two

  Hispanic Outreach Coordinators that ensure the proper translation for all of the above services.

  This stands in stark contrast to Village of Port Chester, a case that was heavily cited by the

  Plaintiffs. In Village of Port Chester, there were only a handful of Spanish speaking poll inspectors

  and testimony from multiple witnesses that had observed Latino voters being treated differently

  from white voters. A new election had to be ordered for School Commissioner after it was alleged

  that over 40 Hispanic voters were turned away from the polls. 704 F. Supp. 2d at 432-33. There

  are no similar accusations alleged in the instant case, where the record reflects that the BOE

  adequately accommodates Islip’s Hispanic community.

         Accordingly, this factor favors the Defendants.

                 b. The Extent of Racially Polarized Voting

         The second factor is “the extent to which voting in the elections of the state or political

  subdivision is racially polarized.” S. Rep. at 29. “Under the functional view of the political process

  mandated by Section 2, the most important factors bearing on a challenge to a multimember system

  are the extent of racial polarization and the extent to which minority group members have been

  elected to public office in the jurisdiction.” Gingles, 478 U.S. at 48 n. 15 (citing S. Rep. at 28-29).

  Although precondition three and this factor both require evidence of racially polarized voting,

  precondition three focuses on whether polarized voting exists and this factor focuses on the extent

  of racial polarization. In order for the Plaintiffs to prove this factor, they must introduce evidence

  that demonstrates that the rate of polarization is high. See League of United Latin Am. Citizens,

  Council No. 4434 v. Clements, 986 F.2d 728, 749 (5th Cir. 1993) (“Under the totality of the

  circumstances inquiry, the focus is on the degree of racially polarized voting.”).



                                                    55
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 56 of 81 PageID #: 3478




         As discussed in Sections III.B.1.b. and III.B.1.c., racially polarized voting is present in

  Islip. As Dr. McDonald explained in his expert report, successful candidates in every Town Board

  election since 2009 consistently received between 14% and 25% of the Latino vote and between

  56% and 65% of the white vote, using regression analysis. Dr. Alford found that successful

  candidates in every Town Board election since 2009 \received between 5.5% and 15.5% of the

  Latino vote and between 29% and 33% of the white vote, using ecological inference.

         Under either analysis, although racially polarized voting is present, its extent is limited.

  Using ecological inference, Dr. Alford estimates that white crossover at between 35% and 39% of

  the total votes for both Latino candidates of choice, though Dr. McDonald approximates that white

  crossover is between 27% and 36.5% of the voters. Although this is not legally significant white

  crossover voting, as explained in Section III.B.1.c., the extent of the crossover voting is

  noteworthy.

         Exogenous elections provide a different picture. The only two primary elections examined

  by Dr. McDonald, both for Legislative District 9, were not racially polarized. Further, legally

  significant white crossover voting at approximately 45% was sufficient to defeat the Latino

  candidate of choice on numerous occasions.

         As the Islip Defendants have argued, it is also relevant to examine voting patterns to

  determine whether they are better explained by partisan affiliation rather than racial bias. See Uno

  v. City of Holyoke, 72 F.3d 973, 982 (1st Cir. 1995) (“Properly conceived, the results test protects

  racial minorities against a stacked deck but does not guarantee that they will be dealt a winning

  hand.”). This is properly examined when reviewing the totality of the circumstances, not in the

  analysis of the Gingles preconditions. See Goosby, 180 F.3d at 492-93 (“We therefore ratify the

  approach taken by the district court to consider the political partisanship argument under the

                                                  56
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 57 of 81 PageID #: 3479




  ‘totality of circumstances’ analysis rather than as part of the third Gingles precondition.”); Goosby,

  956 F. Supp. at 355 (“Thus, ‘even if [proof of a race-neutral cause of divergent voting patterns] is

  forthcoming, the defendant does not automatically triumph. Instead, the court must determine

  whether, based on the totality of the circumstances ..., the plaintiffs have proven that the minority

  group was denied meaningful access to the political system on account of race.’” (quoting Uno,

  72 F.3d at 983)).

         Dr. McDonald acknowledged that in the only non-partisan elections he examined, two

  Democratic primaries, there was no racial polarization. The Plaintiffs did not introduce an expert

  to discuss the influence of partisan politics in the elections at issue and Dr. McDonald admitted

  during his testimony that he did not examine the question. The Islip Defendants presented

  evidence that Democratic candidates received similar levels of support, yet always lost, regardless

  of race. As Dr. Alford explained, Dr. McDonald examined 51 contests and in each one, the

  Democrat was the preferred candidate of Latino voters. Although Hispanics uniformly and

  overwhelmingly support Democratic candidates at all levels, white crossover voting was typically

  at or above 40% for town-wide and exogenous elections. A majority of white voters supported

  the Democratic candidate approximately 23% of the time in such elections.

         An examination of the 2017 Town Board general election reveals the influence of partisan

  politics in the most recent endogenous election. As noted above, this election featured one Latino

  Democratic candidate, one white Democratic candidate, and two white Republican candidates. As

  a result, voters had both a party cue and an ethnic cue. In this election, Dr. Alford found that,

  when holding all other variables constant, an increase in the proportion of Hispanic voters in an

  election district of 10% yielded an expected decrease in support for Gonzalez of 0.57%, while an

  increase in the proportion of Democratic voters in an election district of 10% produced a 9.94%

                                                   57
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 58 of 81 PageID #: 3480




  increase in the vote for Gonzalez. The proportion of Hispanics in an electoral district had no

  predictive power when controlling for political party. Dr. Alford’s regression equations support

  the prominent role of political parties in accounting for the results of elections in the Town of Islip.

  See Reed, 914 F. Supp. at 886 (“Even if a majority of white voters vote so as usually to defeat the

  minority community’s candidate of choice, this divergent voting pattern is driven, at least in the

  white community, by partisanship, not race.”).

          Accordingly, this factor favors the Defendants.

                  c. The Use of Voting Practices that Enhance Discrimination

          The third factor is “the extent to which the state or political subdivision has used unusually

  large election districts, majority vote requirements, anti-single shot provisions, or other voting

  practices or procedures that may enhance the opportunity for discrimination against the minority

  group.” S. Rep. at 29. The Islip Town Board elections do not contain majority vote requirements

  or anti-single shot provisions. They coincide with the primary and general election schedules and

  do not occur “off-cycle” as in Village of Port Chester. 704 F. Supp. 2d at 444.

          To demonstrate that Islip is “unusually large,” the Plaintiffs introduced evidence that

  Gonzalez and Ortiz found the size of Islip challenging when campaigning for the Town Board.

  The individual complaints of prior candidates are relevant, but it does not necessarily follow that

  the area is unusually large. There is no evidence that the Town is particularly large compared to

  other at-large districts in the State of New York or the rest of the country. Rather, there are other

  at-large districts within Suffolk County that cover significantly more area than that of Islip. There

  are numerous examples of geographically larger districts nationwide that are not considered

  unusually large by the trial court. See, e.g., Wright v. Sumter Cty. Bd. of Elections & Registration,

  301 F. Supp. 3d 1297, 1320 (M.D. Ga. 2018) (400+ square mile county not unusually large);

                                                    58
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 59 of 81 PageID #: 3481




  N.A.A.C.P., Inc. v. City of Columbia, 850 F. Supp. 404, 423 (D.S.C. 1993) (130+ square mile city

  not unusually large), aff'd as modified, 33 F.3d 52 (4th Cir. 1994).

             The only voting practice in the Islip Town Board elections with potentially discriminatory

  effects is staggered elections. “The Supreme Court has recognized that staggered elections may

  enhance the discriminatory effect of certain voting systems.” Vill. of Port Chester, 704 F. Supp.

  2d at 444. Nevertheless, the Plaintiffs “did not demonstrate the effect of [staggered elections] in

  [Islip Town Board] elections.” City of Niagara Falls, 65 F.3d at 1020. Without evidence as to the

  impact of this voting practice, the Court cannot determine that it suppresses voter turnout in Town

  Board elections.

             Accordingly, this factor favors the Defendants.

                    d. Access to the Slating Process

             The fourth factor is “whether members of the minority group have been denied access” to

  any candidate slating process. S. Rep. at 29. This centers on whether Hispanics have been able to

  get on the ballot in Town Board elections. See Clements, 986 F.2d at 750. There is no evidence

  that Latino candidates have been unable to get on the ballot for either of the two major political

  parties.

             It is undisputed that the Republican Party dominates local Town politics. The screening

  process for the Islip Republican Committee is an open process that allows anyone to apply.

  Candidates are screened and attend an interview opened to any registered party member.

  Ultimately, an executive committee of approximately 18 members selects the candidates that are

  nominated. If a candidate is not selected, he or she may choose to run in a primary election. No

  Latino has ever been slated to run for the Islip Town Board as a Republican. The Plaintiffs cite

  Goosby v. Town of Hempstead in support of their argument that this failure satisfies its burden

                                                     59
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 60 of 81 PageID #: 3482




  regarding this factor. There, a number of African-Americans challenged the Town of Hempstead’s

  use of the at-large system in town board elections. A three-week bench trial was held in 1996

  before Judge John Gleeson, who found that the plaintiffs had established a Section Two violation,

  noting that “the at-large scheme employed for [t]own [b]oard elections in Hempstead has operated

  to invidiously exclude blacks from effective participation in political life[.]” 956 F. Supp. at 356.

  In Goosby, the county chairman selected a potential candidate for each office and, although the

  nominations were voted on, the county chairman’s recommendation had never been rejected. The

  trial court in Goosby noted that the Black community engaged in a lobbying effort to attempt to

  procure more Black nominations. See Id. at 341 (“There is no dispute that, as noted above, black

  Republicans fervently wanted representation on the Town Board, and their frustration at the party's

  failure to provide it in 1989 had bubbled over to produce the march on Town Hall.”). Goosby

  featured multiple Black Republicans that tried and failed to get on the ballot.

         Here, unlike in Goosby, there is no evidence that a Hispanic Republican ever attempted to

  get on the ballot for Islip Town Board or that the Islip Republicans ever denied access to Latino

  hopefuls. The Plaintiffs have not put forth evidence that any Hispanics sought a nomination for

  an Islip town-wide office or that, in reality, the Chairman controls the nomination process. In this

  situation, Goosby is apposite.

         The Democratic Party has selected Hispanics to run in Town Board elections on multiple

  occasions. In the seven Town Board elections since 2005, the Democrats have nominated three

  Latinos for Town Board slots: Gonzalez in 2017, Ortiz in 2011 and Alvarez in 2005. Moreover,

  the current chairperson of the Islip Democratic Committee is Hispanic. This track record of

  consistently nominating Hispanic candidates demonstrates that the community does have

  sufficient access to the Town Board ballot.

                                                   60
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 61 of 81 PageID #: 3483




          The Plaintiffs have not introduced evidence that there are impediments to ballot access for

  any exogenous elections examined in this case. Rather, the record reflects that numerous Hispanic

  candidates have been slated for town, county, and state elected offices. In multiple instances, two

  Latinos have faced off in a Democratic primary election to determine the nominee. Suffolk’s

  robust history of Latino candidates running for office weighs heavily against the Plaintiffs’

  contentions.

          Accordingly, this factor favors the Defendants.

                     e. Discrimination Which Hinders Hispanics’ Ability to Participate in the
                     Political Process

          The fifth factor is “the extent to which members of the minority group in the state or

  political subdivisions bear the effects of discrimination in such areas as education, employment,

  and health.” S. Rep. at 29.

          The socioeconomic characteristics detailed in Dr. Logan’s expert report have demonstrated

  that certain disparities exist within the Town. Islip Hispanics are less likely to be citizens, speak

  English, go to college, own a home, and work in a professional or managerial capacity. Hispanics

  also have a lower median household income. The most glaring discrepancy between the two

  groups is their ability to speak the English language. 98.3% of whites in Islip either only speak

  English or speak English very well. This stands in stark contrast to the Latino community, of

  which only 57.5% only speak English or speak English very well. Put another way, 40% more

  whites in Islip have the ability to comprehensively communicate in English. Though the Court

  will not speculate as to degree, it is exceedingly clear that language ability impacts the rest of these

  characteristics.




                                                    61
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 62 of 81 PageID #: 3484




         Dr. Logan also observed disparities in academic achievement between the Hispanic

  community and the rest of the Town.          This portion of his testimony was incomplete and

  unpersuasive. Dr. Logan only provided a partial picture of the Town’s public school districts. He

  did not discuss per capita spending, classroom sizes, teacher quality, or other factors that contribute

  to the quality of an education and only examined six of the 12 public school districts in Islip. This

  provides an incomplete, potentially curated set of results. Dr. Logan’s testimony only provides

  evidence that, in general, Latino students attend lower performing schools than their white

  counterparts in certain neighborhoods in Islip.

         Dr. Logan discussed public safety and environmental issues as examples of local injustice

  and discrimination. These sections lacked any convincing analysis of disparate treatment. In

  regard to public safety, Dr. Logan heavily relied on a 10-year-old report from the SPLC. This

  report does not meet the evidentiary standards required to draw factual conclusions from the

  isolated, anecdotal incidents contained therein. See Ex. A, ¶ 39 (“This report is not serious social

  science; it is investigative journalism carried out by researchers with an axe to grind[.]”); United

  States v. Prado, No. 10-CR-74 JFB, 2011 WL 3472509, at *13-14 (E.D.N.Y. Aug. 5, 2011) (“The

  Court finds that these isolated, anecdotal examples of violence or harassment over a nine-year

  period [listed in the SPLC study] involving unrelated Hispanic immigrants who have no

  connection to this case are not sufficient to demonstrate that widespread ethnic prejudice has

  saturated the community[.]”). Dr. Logan also reviewed a series of reports by the DOJ that involve

  the settlement agreement between the SCPD and the DOJ. These materials were selectively cited

  by Dr. Logan to highlight the shortcomings of the SCPD. Dr. Logan did not report on the progress

  made by the SCPD in its implementation of the settlement agreement and provided no quantitative



                                                    62
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 63 of 81 PageID #: 3485




  analysis on any public safety related metric.       This section provides very little evidence of

  systematic discrimination of Latinos in Islip by the SCPD.

         The portion of Dr. Logan’s report related to environmental factors is similarly deficient.

  His report does not show that there are a disproportionate number of hazardous waste sites in

  Latino neighborhoods and many of the sites mentioned in his report were established long before

  the area became predominantly Hispanic.

         When examined in broader context, the story of the Hispanic community in Islip is largely

  one of an American success story, at least when examining socioeconomic characteristics. The

  median Latino household in Islip earns approximately $86,572 per year, which is 43.48% higher

  than the median household income nationwide, and 73.86% higher than the median Latino

  household income. Latinos in Islip only earn 6.87% less than the median household income for

  the Town. This difference between Hispanics and the rest of the community is significantly larger

  when compared on a national scale (17.47%). Only 10.5% of Hispanics in Islip are below the

  poverty level. This is only 3% above that of the entire town and almost half of the national rate.

  While the Hispanic community in Islip may have slightly lower socioeconomic status than whites,

  these differences are mild and substantially below the national numbers.

         The Plaintiffs have not established that the mild socioeconomic differences in status

  between Hispanics and whites impair their ability to participate in the political process. See

  Goosby, 956 F. Supp. at 342 (holding that minor differences in socioeconomic characteristics do

  not significantly impair blacks in the Town of Hempstead from participating in the political

  process).

         Accordingly, this factor favors the Defendants.

                 f. Racial Appeals in Political Campaigns

                                                 63
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 64 of 81 PageID #: 3486




         The sixth factor is “whether political campaigns have been characterized by overt or subtle

  racial appeals.” S. Rep. at 29. Plaintiffs have presented a handful of potential incidents of subtle

  racial appeals in local political campaigns.

         The only campaign literature used in an election for the Islip Town Board is O’Connor’s

  mailer from the 2017 campaign that uses the term “He’s one of us!” This statement, which stands

  on its own, is bereft of any context that suggests it was a subtle racial appeal referring to the

  Hispanic community. Although a handful of witnesses testified that they believe the statement to

  be a racial appeal, they offered no reasons for such a belief other than their “gut.” There is nothing

  to indicate that this mailer was only sent to predominantly white areas of the Town and, in context,

  the comment likely referred to the candidate’s prior experience or his campaign platform. The

  Court finds that this mailer cannot reasonably be perceived as a reference to the Hispanic

  community.

         The Plaintiffs also reference a Facebook post that certain witnesses attribute to Bergin

  Weichbrodt. Yet, the record does not demonstrate that the Councilwoman conclusively authored

  the comment. There is no evidence that this statement was connected to any election. If Bergin

  Weichbrodt authored it and it was connected to her campaign, the comment can reasonably be

  perceived as a subtle racial appeal.

         Bergin Weichbrodt also made a statement at a campaign event in 2017 about Gonzalez,

  who at the time was running for Town Board. She commented, “He lives in Central Islip. He’s

  not from here. He doesn’t understand what our concerns are in this part of the Town.” This

  statement is not provided in context, which makes it hard for the Court to properly assess its

  meaning. The video that contains the statement only lasts for the duration of the quote; it does not



                                                   64
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 65 of 81 PageID #: 3487




  show anything said or done before or after the comment. Given the lack of context, the Court is

  unable to reach a conclusion regarding the statement.

         The only other written material introduced is a mailer for Steve Flotterton’s 2017 campaign

  for Suffolk County Legislature. It was not intended solely for white residents of Islip, but rather

  all of Suffolk County. The picture on the mailer depicts a young Hispanic male with the letters

  “MS” tattooed to his forehead, a tattoo commonly associated with the notorious street gang MS-

  13. In the last five years, MS-13 and other street gangs have increased in prominence in several

  parts of Suffolk County. In addition to its prolific drug trafficking, MS-13 has committed a series

  of high-profile gang murders, inducing fear and anxiety throughout the communities affected by

  their presence. Liz Robbins & Nadia Rodriguez, The Gang Murders in the Long Island Suburbs,

  N.Y. Times (July 12, 2017), https://www.nytimes.com/2017/07/12/nyregion/ms-13-murders-

  long-island.html. As much of the victims of their crimes are Hispanic, the Latino Community has

  particularly suffered from the gang's activities. The Court therefore cannot conclude that the flyer's

  direct reference to MS-13's criminal activity, without more, intended to convey racial stereotypes

  regarding Suffolk County's Hispanic community, which is indisputably and overwhelmingly law-

  abiding.

         The Court recognizes that statements on issues like illegal immigration or gang violence

  can go from a legitimate position to race-baiting with only minor changes. Politicians must walk

  a fine line when discussing such emotionally-charged campaign issues.              However, simply

  discussing those issues does not, in and of itself, cross that line. Regardless of the Plaintiffs'

  disagreements with Mr. Flotterton's political stance, the flyer touched on a matter of importance

  impacting not only Islip’s Hispanic community but all Long Islanders. The content of the flyer



                                                   65
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 66 of 81 PageID #: 3488




  stuck to the issues and addressed reasonable concerns in the County. In this context, this material

  cannot reasonably be perceived as discriminatory.


         Finally, the Plaintiffs contend that Steve Levy, the Suffolk County Executive engaged in

  public rhetoric against immigrant communities. However, only hearsay evidence is used to

  support this claim and there is no indication that it is connected to an election.

         The Court finds that there is little to no evidence that overt or subtle racial appeals have

  been used in Islip elections. Accordingly, this factor favors the Defendants.

                 g. Success of Hispanics in Public Office Elections

         The seventh factor is “the extent to which members of the minority group have been elected

  to public office in the jurisdiction.” S. Rep. at 29. As stated supra, “[u]nder the functional view

  of the political process mandated by Section 2, the most important factors bearing on a challenge

  to a multimember system are the extent of racial polarization and the extent to which minority

  group members have been elected to public office in the jurisdiction.” Gingles, 478 U.S. at 48

  n.15 (citing Senate Report at 28-29). From 2005 to the present, no Hispanic has ever been elected

  to the Islip Town Board. Although several Hispanics have been elected to other positions that

  represent the community, including the New York State Senate, the New York State Assembly

  and the Suffolk County Legislature, this limited evidence is insufficient to overcome the dearth of

  successful Hispanic candidates for endogenous elections. “In short, there cannot be any more

  compelling case in support of Senate factor seven.” Vill. of Port Chester, 704 F. Supp. 2d at 446

  (citing Goosby, 956 F. Supp. at 343-44).

         Accordingly, this factor favors the Plaintiffs.

                 h. Government’s Responsiveness to the Particularized Needs of the Hispanic
                 Community

                                                   66
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 67 of 81 PageID #: 3489




         The eighth factor asks “whether there is a significant lack of responsiveness on the part of

  elected officials to the particularized needs of the members of the minority group.” S. Rep. at 29.

  In the Second Circuit, courts have “pursue[d] this inquiry with some reluctance, as it entails our

  deciphering what policy steps qualify as responses to the ‘needs of members of the minority

  community.’” City of Niagara Falls, 65 F.3d at 1023 n. 24 (quoting S. Rep. at 29). With this in

  mind, the Second Circuit limits the inquiry to a “review of tangible efforts of elected officials and

  the impact of these efforts on particular members of the community.” Id.; Solomon v. Liberty Cty.,

  957 F. Supp. 1522, 1566 (N.D. Fla. 1997) (“Lack of responsiveness of elected officials to the

  particularized needs of members of the minority community, although less important than other

  factors, may also be considered in evaluating a claim under section 2.” (citing S. Rep. at 29)), rev'd

  sub nom., Solomon v. Liberty Cty. Comm'rs, 166 F.3d 1135 (11th Cir. 1999), reh'g en banc

  granted, opinion vacated, 206 F.3d 1054 (11th Cir. 2000), and on reh'g aff'd sub nom., Solomon

  v. Liberty Cty. Comm'rs, 221 F.3d 1218 (11th Cir. 2000). In this effort, evidence of both

  responsiveness and unresponsiveness will be considered. See City of Niagara Falls, 65 F.3d at

  1023 (“We cannot accept the plaintiffs' argument that only unresponsiveness—and not

  responsiveness—is relevant to a § 2 inquiry. The district court cited numerous efforts made by the

  City to address the needs of members of the minority community.”).

         Islip has spent significant resources investing in predominantly Hispanic areas of the Town.

  Most notably, it renovated the pool at Roberto Clemente Park and refurbished Noble Street Park

  with a new walking path, playground, basketball courts and floodlights. A water spray park is

  currently being constructed in Roberto Clemente Park. This stands in stark contrast to the picture

  painted by Judge Gleeson in Goosby, where the Town of Hempstead denied or disregarded a series



                                                   67
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 68 of 81 PageID #: 3490




  of requests for community centers and redevelopment in black communities. See Goosby, 956 F.

  Supp. at 345-46.

         There is significant evidence that maintenance issues such as snow removal and street

  paving are accomplished in the same manner as other areas of the Town. The limited, hearsay

  evidence introduced by the Plaintiffs to argue that the Town somehow prioritizes the

  predominantly white areas for projects is speculative and unconvincing. Much of this consists of

  subjective complaints of pot hole repairs, snow removal or street maintenance without any

  supporting detail. As Owens explained, the above issues are prioritized based on high importance

  areas and resident complaints, which are tracked electronically. The issues cited by the Plaintiffs

  are more akin to run-of-the-mill local government gripes rather than evidence of non-

  responsiveness to the needs of the Hispanic community.

         Notably, one of the Plaintiffs’ central illustrations of purported disparate treatment, which

  is proffered entirely by hearsay, turns out to be a fundamental lesson in the dangers of speculation

  and hearsay. On the morning of the 2016 general election, witnesses noticed that there were a

  number of construction vehicles preparing to perform maintenance work on Suffolk Avenue, one

  of the major arteries in Brentwood. One of the Plaintiffs’ witnesses testified that it was the Town

  of Islip that was responsible for this work. Others even suggested that this was done to thwart

  residents’ efforts to vote that day in an attempt to suppress the Hispanic vote. The evidence

  demonstrates that Suffolk Avenue is not a road owned or maintained by the Town and that the

  Town had no part of any of the work performed that day. After receiving complaints, Carpenter

  contacted Owens who assured her that the work was being performed by Suffolk County.

         The Court recognizes that the Town’s record is imperfect in this regard. Most notably, its

  involvement in the dumping of 40,000 tons of toxic debris in Roberto Clemente Park in 2014.

                                                  68
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 69 of 81 PageID #: 3491




  Two unelected Town officials were involved in the incident and pled guilty to related criminal

  charges. This unfortunate occurrence caused significant harm to the local community. However,

  there is no evidence that the dumping was connected to any form of discrimination. The Town

  Board reacted swiftly, unanimously approving a $6 million bond to cleanup the park and working

  with state environmental officials to expedite the process. Although the community was without

  Roberto Clemente Park for far too long, this was not for want of action on the Town’s part.

  Throughout the process, the Town continued to communicate with the Brentwood community by

  mailings, its website, door-to-door canvasing, updates at Town Board meetings, information

  posted at the local library, and a Spanish-speaking representative who relocated to the Brentwood

  Senior Center. Most of the communications were conveyed in both English and Spanish. The

  evidence in this case is clear: the Town properly responded to this crisis with sufficient care and

  commitment.

          Spanish interpretation and translation services can be improved, but these deficiencies are

  not so severe as to outweigh the wide-ranging efforts by the Town to improve predominantly

  Hispanic neighborhoods. The Plaintiffs’ evidence falls far short of establishing that the Town is

  not responsive to the needs of the Hispanic community. See Solomon, 957 F. Supp. at 1567

  (“There was some testimony that many of the streets in black communities in Liberty County are

  unnamed and unpaved. On the other hand, blacks have access to the same municipal and county

  services that are available to whites. … Blacks have received other benefits, including the bulk of

  grant money which was spent on a water project and housing upgrades. … This evidence

  satisfactorily establishes that the [Defendant] has been responsive to the black community.”

  (internal citations omitted)).

          Accordingly, this factor favors the Defendants.

                                                  69
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 70 of 81 PageID #: 3492




                 i. Policy Underlying the State’s Voting Practice

         The ninth and final factor is “whether the policy underlying the state or political

  subdivision's use of such voting qualification, prerequisite to voting, or standard, practice or

  procedure is tenuous.” S. Rep. at 29. Evidence supporting a tenuous policy “may … indicate that

  the practice or procedure produces a discriminatory result.” Clements, 986 F.2d at 753. The

  Plaintiffs present two theories as to why the policy underlying the at-large system is tenuous: (1)

  political corruption; and (2) there is no dedicated individual who represents the Hispanic-minority

  community.

         There is no evidence that the at-large voting structure has contributed to any alleged

  corruption in the Town’s politics. 65% of all cities and towns in this country currently use the

  system and, as Dr. Thernstrom points out, at-large elections were a cornerstone of the twentieth

  century reforms in urban governments. The Plaintiffs have not even attempted to link any

  perceived corruption to the current system. Moreover, in a 2006 town-wide referendum, the Town

  residents voted to keep its at-large elections. Approximately 45% of Hispanics and 55% of whites

  voted in support of the system. There is insufficient evidence that such a popular form of

  government that is pervasive throughout this country fosters corruption.

         Plaintiffs point to the Town Board’s salaries and alleged cronyism in support of their

  political corruption argument. In 2018, the Town Board voted to replace certain members of the

  CDA board with board members who purportedly supported the appointment of a politically

  connected individual to the position of Executive Director. However, this vote was highly

  contested, with two of the five board members voting against it. There is no indication that this

  vote is connected in any way to the at-large system. Without further incidents of potential political



                                                   70
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 71 of 81 PageID #: 3493




  corruption, the Court is unable to conclude that a handful of isolated incidents indicate any

  pervasive corruption, let alone corruption connected to the at-large system.

         The Plaintiffs also contend that the Hispanic community has no access to or support from

  current councilpersons. This is contradicted by the record. Both parties noted the benefits and

  drawbacks of the at-large system and the single member system. Yet, the question at hand is not

  which system better serves the Hispanic community; it inquires into whether the policy behind the

  practice is tenuous. There are numerous instances of dialogue between the Town Board and the

  Hispanic community, as well as the Town’s commitment to improve the lives of its residents. The

  Plaintiffs have fallen short of proving that the near century-old system is based on a tenuous

  rationale. See City of Niagara Falls, 913 F. Supp. at 749 (“Although plaintiffs testified that they

  would prefer representatives who would represent their particular neighborhoods, there are

  obvious advantages to having a City Council comprised of representatives who at least ostensibly

  represent all the residents of the City.”). Large v. Fremont Cty, 709 F. Supp. 2d 1176, 1228 (D.

  Wyo. 2010) (“In combination with the fact that the at-large system carries with it its own set of

  benefits, it cannot be said that the policy underlying the system is tenuous. In its limited analysis

  of this particular factor, the Court is not making a judgment call regarding which system is

  preferable. It need only say that the policy underlying the at-large system is not tenuous.”).

         Accordingly, this factor favors the Defendants.

         After conducting a systematic and exhaustive analysis, as required by the VRA, the

  Plaintiffs have not shown that, under the totality of circumstances, that they are substantially likely

  to succeed in their claim that the at-large election system for electing members of the Town Board

  precludes Hispanics from equal participation in the electoral process.

  C. Public Interest

                                                    71
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 72 of 81 PageID #: 3494




           Even assuming arguendo that the Plaintiffs are able to establish substantial likelihood of

  success on the merits, the issuance of an injunction is not in the public interest. See Montano, 268

  F. Supp. 2d at 270 (“Even if a plaintiff demonstrates a likelihood of success on the merits and

  irreparable harm, a court may deny injunctive relief when it weighs against the public interest as a

  result of an impending election.” (citing Diaz, 932 F. Supp. at 468-69)). Regardless of a plaintiff’s

  ability to demonstrate irreparable harm and substantial likelihood of success on the merits, a

  district court may deny injunctive relief if it is against the public interest. Id.; Goosby v. Town Bd.

  of the Town of Hempstead, 981 F. Supp. 751, 763 (E.D.N.Y. 1997), aff’d, 180 F.3d 476 (2d Cir.

  1999).

           The public interest factor is particularly important in cases in which a party seeks
           to enjoin an election. The Supreme Court has repeatedly held that “redistricting and
           reapportioning legislative bodies is a legislative task which the courts should make
           every effort not to preempt.” Because the conduct of elections is so essential to a
           state's political self-determination, the strong public interest in having elections go
           forward generally weighs heavily against an injunction that would postpone an
           upcoming election.

  Cano, 191 F. Supp. 2d at 1139 (quoting McDaniel v. Sanchez, 452 U.S. 130, 150 n.30, 101 S. Ct.

  2224, 68 L. Ed. 2d 724 (1981)).

           As discussed in Section II.E., the Plaintiffs seek an injunction that enjoins under the current

  at-large structure and asks the Court to use its remedial power to install a district system on a

  preliminary basis. See Dkt. 117 at 1 (“Plaintiffs’ motion asks the Court (i) to enjoin elections for

  the Islip Town Board under the current at-large structure because it violates Section 2 of the Voting

  Rights Act and (ii) to exercise its broad discretion to order a preliminary remedy before another

  unlawful election proceeds.”). As such, Plaintiffs not only want to suspend any future election

  using the current system but want the Court to craft its own temporary system, one that is

  remarkably similar to the ultimate relief they seek.         “[G]iven that the plaintiffs’ requested

                                                     72
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 73 of 81 PageID #: 3495




  injunction goes well beyond merely preserving the status quo while the litigation is pending, the

  very nature of their request demand that the court proceed with caution.” Dillard v. Crenshaw

  Cty., 640 F. Supp. 1347, 1362 (M.D. Ala. 1986). As Judge Gleeson cautioned in Goosby,

  “intervention by the federal courts in state elections has always been a serious business, not to be

  lightly engaged in.” Goosby, 981 F. Supp. at 763 (quoting Chisom v. Roemer, 853 F.2d 1186,

  1189 (5th Cir. 1988)); accord Reynolds, 377 U.S. at 585 (“[U]nder certain circumstances, such as

  where an impending election is imminent and a State's election machinery is already in progress,

  equitable considerations might justify a court in withholding the granting of immediately effective

  relief in a legislative apportionment case, even though the existing apportionment scheme was

  found invalid.”).

         1. Nature of Relief/Current Procedural Posture

         The Court finds that enjoining elections from continuing under the current structure is not

  in the public’s interest. This Court recognizes that there is a strong public interest in proceeding

  with regularly scheduled elections and this weighs heavily against granting an injunction that

  would delay or disrupt an upcoming election. “[T]he decision to enjoin an impending election is

  so serious that the Supreme Court has allowed elections to go forward even in the face of an

  undisputed constitutional violation.” Sw. Voter Registration Education Project v. Shelley, 344

  F.3d 914, 918 (9th Cir. 2003) (internal citations omitted).

         In Goosby, Judge Gleeson concluded in February 1997, after a three-week bench trial, that

  the at-large system used for electing members of the Town Board of the Town of Hempstead

  violated Section Two of the VRA. To remedy this constitutional violation, he ordered the town

  board to submit a remedial plan that divided the town into six single-member voting districts. See

  Goosby, 956 F. Supp. at 356. In May 1997, the town submitted two proposals. Five months later,

                                                  73
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 74 of 81 PageID #: 3496




  Judge Gleeson ordered that one of the two plans be adopted and issued an injunction that, among

  other things, enjoined Hempstead from using the current at-large system for any future elections.

  See Goosby, 981 F. Supp. at 763. However, he denied the attempt to enjoin the upcoming general

  election under the at-large system, explaining that “if plaintiffs prevail on appeal, there is nothing

  to prevent a special election to remedy the Section 2 violation.” Id. Even after a full trial on the

  merits and a final order declaring the system in breach of Section Two, the Goosby court refused

  to enjoin the upcoming election until after the appeal.

         Here, the Plaintiffs ask for the same relief before any final determination that the current

  scheme is unconstitutional. The parties have not had the opportunity for the remainder of the

  discovery process, dispositive motion practice, a trial and an ultimate adjudication on the merits.

  Dillard, 640 F. Supp. at 1362 (“[T]he court refuses to order the five counties to implement new

  election plans, including possibly single-member district plans, until after this lawsuit has been

  finally heard on the merits.”). Though a preliminary injunction hearing is similar to a trial in many

  ways, there are also substantial differences. “[W]here, as here, the possibility of corrective relief

  at a later date exists, even an established VRA violation does not in and of itself merit a preliminary

  injunction.” Watkins v. Mabus, 771 F. Supp. 789, 805 n.16 (S.D. Miss. 1991), aff'd in part and

  vacated in part as moot, 502 U.S. 954, 112 S. Ct. 412, 116 L. Ed. 2d 433 (1991). In short, the

  Plaintiffs are only just past the start line while the Goosby plaintiffs were in sight of the finish. At

  this stage in the proceedings, the public interest does not favor disrupting the right to vote, a right

  once referred to by Robert Kennedy as “fundamental to all the other rights of citizenship.” Robert

  F. Kennedy, Letter to President Kennedy on Civil Rights (Jan. 24, 1963); accord Wesberry v.

  Sanders, 376 U.S. 1, 17, 84 S. Ct. 526, 534-535, 11 L. Ed. 2d 481 (1964) (“No right is more



                                                    74
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 75 of 81 PageID #: 3497




  precious in a free country than that of having a voice in the election of those who make the laws

  under which, as good citizens, we must live.”).

         2. Inadequate Time & Administrative Burden

         The 2019 elections are rapidly approaching, and the citizens of Islip have a significant

  interest in those elections proceeding without delay. With election day less than six months away,

  any attempt to institute a new, comprehensive remedial plan would be reckless. It took the Goosby

  court approximately nine months to develop and evaluate the final remedial plan. It took three

  months for Hempstead to submit proposals and five months for the district court to approve it. In

  addition, when accounting for the time for the appellate process to conclude, the order did not go

  into effect until almost two and a half years after the initial order. The BOE can likely administer

  an election in approximately six weeks once the candidates are identified, the district maps drawn,

  and the voters are properly coded. However, the BOE must certify its general election ballot with

  the New York State Board of Elections by September 12, 2019. This leaves approximately three

  and a half months to develop and implement the remedy and for the parties to select their

  candidates in this new system. While many of these time frames are only guideposts and can be

  condensed, it would be irresponsible to rush to develop a new system of town governance in a few

  short months. See Dillard, 640 F. Supp. at 1362 (explaining that “[n]umerous unforeseen events

  could delay the implementation of alternative plans”). There is simply not enough time to do this

  properly in time for the upcoming elections.

         This new system would require the parties to re-nominate a new slate of candidates. With

  the primary elections approximately one month away, the Court would have to remove the current

  set of candidates from the ballot and postpone the primary election until after the new system is

  established and able to be implemented. This consequence alone is sufficient to tilt the public

                                                    75
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 76 of 81 PageID #: 3498




  interest against issuing an injunction. See, e.g., Cardona v. Oakland Unified Sch. Dist., 785 F.

  Supp. 837, 842-43 (N.D. Cal. 1992) (preliminary injunction denied four months prior to primary

  election).

          In the Court’s view, the Plaintiffs’ proposed relief would pose enormous burdens on the

  relevant stakeholders sufficient to cause significant disruption to the electoral process. As LaLota

  explained, the election machinery is already running. February 26, 2019 was the first day to sign

  designating petitions. Since then, the petitions have been filed, designations authorized, primary

  ballots certified, and ballot petitions filed. Invalidating all of these steps and implementing a new,

  truncated schedule for them would pose an administrative challenge that could create a multitude

  of issues. See Mac Govern v. Connolly, 637 F. Supp. 111, 115-16 (D. Mass. 1986) (“Equity

  demands that a federal court stay its hand when judicial relief makes no sense. This action, in

  which the remedy sought would come at great cost and yield results that are at best uncertain and,

  at worst, perverse, is plainly such a case. When the massive disruption to the political process of

  the Commonwealth is weighed against the harm to plaintiffs of suffering through one more

  election based on an allegedly invalid districting scheme, equity requires that we deny relief.”).

          Most notably, it risks undermining confidence in the integrity of the electoral process. See

  Davis v. Commonwealth Election Comm'n, No. 1-14-CV-00002, 2014 WL 12767673, at *6 (D. N.

  Mar. I. Oct. 27, 2014). It would also likely cause significant logistical problems for any new

  candidates looking to collect signatures to get on the ballot. New York requires that signatures be

  gathered from within the electoral district at issue. New candidates would no longer be permitted

  to gather signatures from the entire town. Rather, they would be limited to those residents of their

  newly created district. This would undoubtedly cause confusion for voters as well as candidates

  and ensures additional judicial challenges to signatures. See Diaz, 932 F. Supp. at 466 (“Thus,

                                                   76
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 77 of 81 PageID #: 3499




  even where an existing districting scheme was found invalid, the Supreme Court maintained that

  the state need not interfere with election machinery which was already ‘in gear.’” (citing Roman

  v. Sincock, 377 U.S. 695, 709-710, 84 S. Ct. 1449, 12 L. Ed. 2d 620 (1964)).

         The Defendants further argue that the preliminary relief requested would require another

  redistricting once the decennial census is released, in early 2021. “[T]wo reapportionments within

  a short period of two years would greatly prejudice [the Town] and its citizens by creating

  instability and dislocation in the electoral system and by imposing great financial and logistical

  burdens.” White v. Daniel, 909 F.2d 99, 103-04 (4th Cir. 1990). As Dr. Beveridge explained, after

  the decennial census is complete and the required data is released, election lines are redrawn to

  ensure population equality. This safeguards the “one person, one vote” concept that is integral to

  American democracy.

         If the Court were to issue a preliminary injunction and institute a single-member district

  system, Islip would have to re-draw the district boundaries after the 2020 census. This would

  cause additional confusion and preclude the continuity required in local elections. See In re Below,

  151 N.H. 135, 148, 855 A.2d 459 (2004) (“Permitting the legislature to redistrict nine years after

  one federal decennial census, when it must redistrict again in only one or two years following the

  next census, would impair ‘the need for stability and continuity in the organization of the

  legislative system.’” (quoting Reynolds, 377 U.S. at 583)).

         With Town Board elections occurring every two years, it is likely that any districts

  established will have to be redrawn before the next elections. The Plaintiffs propose that all

  councilmember terms would be terminated and four new councilmembers would take office

  beginning in 2020. If the new district maps are redrawn within two years, any councilperson

  elected under the current system would be unable to serve their full four-year term. Another

                                                  77
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 78 of 81 PageID #: 3500




  election would need to be held once the decennial census redrawing is complete. The impending

  decennial reapportionment following the census weighs profoundly against granting preliminary

  relief that will require almost instant modification. See Mac Govern, 637 F. Supp. at 115-16 (“The

  timing of this action with respect to the normal decennial reapportionment also weighs heavily

  against granting relief. … Court intervention at this point, then, would not only cause the

  dislocation that accompanies any reapportionment, it might well cause it twice.”).

         3. Harm to Candidates & Current Councilpersons

         The Plaintiffs propose that all current council members’ terms would be terminated on

  December 31, 2019. Although two councilpersons are set to expire at the end of the year, two are

  in the middle of their four-year term. This Court would have to remove two councilpersons from

  office, which would undoubtedly cause harm to duly elected town representatives. Such an act is

  not to be taken lightly. If the Defendants are ultimately successful at trial, two duly-elected

  councilpersons would have been unnecessarily and unjustly removed from office. The Court is

  unwilling to take such a drastic step. See generally Dillard, 640 F. Supp. at 1362 (“The court does

  not wish to be left in the position of having either to extend the terms of incumbents or to appoint

  temporary replacements to serve until the new plans are in place. Both alternatives would

  effectively deny the entire electorate the right to vote and thus seem to offend basic principles of

  representative government.”).

         In addition, there are currently four candidates for the Town Board, including two

  incumbents who currently serve as councilpersons. The Plaintiffs request that the Court remove

  these candidates from the ballot. By now, they have participated in party screenings and collected

  petitions. Candidates have put in a considerable amount of work to get on the ballot. Removing

  them now, without having established ultimate liability, would be unjust.

                                                  78
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 79 of 81 PageID #: 3501




         4. Harm to Voters

         The Plaintiffs’ proposition would come at the expense of the Town’s voters, who would be

  required to accept a new, temporary political system established by court order. Shortening or

  otherwise altering the normal election process has the potential to cause significant voter

  confusion. At the present time, thousands of voters have been made aware of the upcoming

  election for Town Board. Candidates have collected thousands of voter petitions and have

  interacted with a significant number of additional voters. These voters expect those candidates to

  be on the ballot in the primary and potentially the general election. Removing the current slate of

  candidates and requiring parties to re-nominate additional candidates would cause significant voter

  confusion.

         This confusion is likely to be magnified by the implementation of the new district system.

  Voters who are used to voting for all vacancies on the Town Board will now have to be made

  aware of their proper district. This will require a substantial reeducation effort by the BOE to

  educate the Town’s residents on the new system and how it impacts them on election day. All of

  this effort must be expended with the possibility hanging over the Town’s head that either this

  system will have to once again be amended after the decennial census or that it will be removed

  entirely if the Defendants are successful at trial. This is likely to decrease turnout on Election Day

  for all voters. These changes will likely particularly impact Islip’s military servicemembers, who

  are serving our country around the world. As LaLota explained, the nature of the military’s

  communication system makes it difficult for individuals serving abroad to be made aware of any

  changes in local elections, even if the alterations were made weeks before the election. These men

  and women are risking their lives to preserve our democracy and protect our right to vote. It would

  be entirely unfair if even a handful are unable to vote on Election Day. This compresses the

                                                   79
Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 80 of 81 PageID #: 3502




  required timetable even further. Introducing these additional variables into the election system

  will decrease the turnout on election day, promote confusion, and increase the cost.

         5. Plaintiffs’ Delay

         The Court also must consider the Plaintiffs’ months-long delay in requesting injunctive

  relief. The Plaintiffs filed their complaint on June 18, 2018 and didn’t inform this Court of their

  desire to seek a preliminary injunction until February 13, 2019. They contend that their motion

  was precipitated by New York State Assembly Bill A. 229, which was passed on January 24, 2019,

  and advanced all primary elections in New York from September 10, 2019 to June 25, 2019. This

  explanation is unconvincing. If the Court accepts the Plaintiffs’ representation that their motion

  not only intended to postpone the election under the current system but also replace it until the

  merits of this case could be adjudicated, there is no excuse for the months-long delay. The

  Plaintiffs were aware of the time it takes to fashion a remedy, even a preliminary one, in a VRA

  case. See Goosby, 981 F. Supp. at 754. In the original scheduling order issued by Magistrate

  Judge Gary R. Brown, the parties’ joint pretrial order would not be filed until August 22, 2019, a

  mere 19 days before the original primary election date.            Had they filed their motion

  contemporaneous with their complaint, much of the issues discussed in this section would never

  have developed. This harm to their case is entirely self-inflicted. See Dillard, 640 F. Supp. at

  1362 (“[E]ven if it were clear that all of the counties should be required to adopt single-member

  districts, it would be unfair … to require them to do so by June. The plaintiffs did not even seek

  preliminary injunctive relief until February 1986[.]”).

         The parties’ February 13, 2019 joint letter to the Court proposed a two-month period for

  briefing the motion and requested that the evidentiary hearing be held after May 10, 2019,

  approximately three months after the letter was filed. If this Court had not amended the briefing

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Case 2:18-cv-03549-GRB-ST Document 133 Filed 05/28/19 Page 81 of 81 PageID #: 3503




  schedule sua sponte and ordered an expedited briefing schedule based on a scheduling conflict,

  the evidentiary hearing would likely be ongoing at the time this decision is published. This longer-

  than-usual proposed schedule is perplexing, given the immensity and complexity of the Plaintiffs’

  requested relief.

          Accordingly, the Court finds that the issuance of an injunction is not in the public interest.

                                         IV. CONCLUSION

          For the reasons stated above, the Plaintiffs’ motion for preliminary injunction is denied in

  its entirety.




  SO ORDERED

  Dated: Central Islip, New York
  May 28, 2019
                                                         ___/s/ Arthur D. Spatt_____
                                                           ARTHUR D. SPATT
                                                         United States District Judge




                                                   81
